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                                                                  18SL-CC00617

        TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY


TAMIA BANKS, on behalf of herself and          )
all others similarly situated,                 )
                                               )
       Plaintiff,                              )   Cause No.
                                               )
       vs.                                     )   Division No.
                                               )
COTTER CORPORATION,                            )
Serve at:                                      )   JURY TRIAL DEMANDED
       The Corporation Company                 )
       Registered Agent for                    )
       Cotter Corporation                      )
       7700 E. Arapahoe Road, Suite 220        )
       Centennial, CO 80112                    )
                                               )
COMMONWEALTH EDISON COMPANY, )
Serve at:                                      )
       Corporate Creations Network Inc.        )
       Registered Agent for                    )
       Commonwealth Edison Company             )
       350 S. Northwest Highway, Suite 300     )
       Park Ridge, IL 60068                    )
                                               )
EXELON CORPORATION,                            )
Serve at:                                      )
       Corporate Creations Network Inc         )
       Registered Agent for Exelon Corporation )
       350 S. Northwest Highway, Suite 300     )
       Park Ridge, IL 60068                    )
                                               )
EXELON GENERATION COMPANY, LLC, )
Serve at:                                      )
       Corporate Creations Network Inc         )
       Registered Agent for                    )
       Exelon Generation Company, LLC          )
       350 S. Northwest Highway, Suite 300     )
       Park Ridge, IL 60068                    )
                                               )
                                               )
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DJR HOLDINGS, INC. f/k/a FUTURA                      )
COATINGS, INC.,                                      )
Serve:                                               )
       Rodney D. Jarboe                              )
       9200 Latty Avenue                             )
       Hazelwood, MO 63042                           )
                                                     )
       and                                           )
                                                     )
ST. LOUIS AIRPORT AUTHORITY,                         )
A DEPARTMENT OF THE CITY OF                          )
ST. LOUIS                                            )
Serve:                                               )
       Mayor Lyda Krewson                            )
       St. Louis City Hall                           )
       1200 Market St                                )
       St. Louis, MO 63103                           )
                                                     )
       Defendants.                                   )


                                 CLASS ACTION PETITION

       COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

by and through counsel, and for her Class Action Petition and causes of action against Defendants

Cotter Corporation, Commonwealth Edison Company, Exelon Corporation, Exelon Generation

Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport

Authority, a department of the City of St. Louis, states and alleges as follows:

       1.       Since World War II, big companies have made significant profits processing,

handling, and storing radioactive materials in the St. Louis area. This activity began six decades

ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

with high levels of radium from Africa. This special ore was extremely toxic—more so than the

ores available from anywhere else in the world. Despite the fact that these materials were some of


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the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

materials with less care than a reasonable person might give in moving common household

garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

Louis Airport, then to Hazelwood.

       2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to

the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout

North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis

Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

       3.      Since then, that radioactive material, negligently dumped in an area surrounded by

peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

who want nothing more than to play in the backyard; and small business owners who had invested

everything to build the American dream for their families. These everyday St. Louisans now find

their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

properties worthless. They find their once-quaint neighborhoods filled with technicians testing

and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

toxicity of the radioactive material Defendants have dumped into their lives.

       4.      Tests conducted by representatives of the United States of America and others now

confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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found today in the real property, which contains businesses and homes, surrounding the Coldwater

Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

       5.      These radioactive wastes are known human carcinogens that can cause chronic

damage to the skin, reproductive system, blood forming system, digestive system, central nervous

system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

defects may take a number of years after exposure to the radioactive material to appear.

       6.      Defendants have failed to take responsibility for their negligent behavior, failed to

clean up the area, failed to move the residents and businesses out, and failed to make amends for

the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

and omissions, misleading the public about the widespread contamination Defendants have caused

and minimizing the immense risks to public health and safety that resulted from Defendants’

actions.

       7.      It is time that Defendants finally be held accountable for their reckless and tortious

conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

victims.

       8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns property in St. Ann, Missouri

that Defendants contaminated. Her home and property, along with the property of other members

of the Class, is located within the one hundred year flood plain of Coldwater Creek. Her property,




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including the land and her home, is entirely within the Coldwater Creek flood plain, and is

contaminated with radioactive waste materials from Coldwater Creek.

          9.    Testing on the Banks Property has confirmed radioactivity above normal

background levels. The source of the radioactivity is small, microscopic particles, which among

other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.

          10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained

significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff

for her damages, and provide further relief as set forth below in this Petition.

                                 JURISDICTION AND VENUE

          11.   This court has jurisdiction over the subject matter and the parties in this case

because the causes of action stated in this Petition arose out of business activities conducted solely

in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

          12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

          13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

States.

          14.   Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

                A. Coldwater Creek is not and has never been a licensed nuclear facility.

                B. Defendants have never received a license to possess, transport, or dispose of

                   any radioactive wastes on or in Coldwater Creek.

                C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                   Creek.

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               D. Defendants did not have a license to handle the particular materials they

                   handled as alleged herein, including enriched thorium.

               E. Defendants have never entered into an indemnification agreement with the

                   United States government under 42 U.S.C. § 2210 with respect to the

                   complained activities.

       15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

concerns related to liability limitation and indemnification.

       16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

to said Act.

       17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

carcinogenic wastes at issue in this Petition.

                                          THE PARTIES

                                             Plaintiffs

       18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

in St. Louis County adjacent to Coldwater Creek.

       19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

damages including damages to the Banks Property and the loss of use and enjoyment of the



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property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

material in 2018.

                                            Defendants

       20.     There are four defendants that relate in some way to Cotter Corporation, the owner

and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation

(“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon

Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).

       21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

California corporation. It was purchased by and became a wholly owned subsidiary of

Commonwealth Edison in 1975.

               A. Cotter continuously and systematically carries on business activities in the State

                    of Missouri in its own name, through its parent companies ComEd and Exelon,

                    as well as through its subsidiary General Atomics, Inc.

               B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of law and damage to property alleged in the Petition.

       22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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               A. ComEd continuously and systematically carries on business activities in the

                   State of Missouri, both on its own and through its subsidiaries including Cotter

                   and its parent company Exelon. In addition, ComEd owned Cotter at times

                   relevant to this Petition, and agreed to indemnify Cotter for liabilities associated

                   with the creation, storage, transportation, and processing of hazardous, toxic,

                   carcinogenic, radioactive wastes as alleged herein. ComEd regularly and

                   routinely avails itself of the protection of Missouri laws in St. Louis County

                   courts, and regularly appears to defend itself in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of law and damage to property alleged in the Petition.

       23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

including Cotter and ComEd, conducted business in Missouri.

               A. Exelon is the parent company of ComEd and, through its subsidiaries including

                   Cotter and ComEd, continuously and systematically carries out business

                   activities in the State of Missouri. Exelon regularly and routinely avails itself

                   of the protection of Missouri laws in St. Louis County courts, and regularly

                   appears to defend itself in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as

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                   the acts and omissions of the predecessors of the Exelon Defendants, which

                   gave rise to the violations of law and damage to property alleged in the Petition.

       24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information

and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to

indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,

LLC.

               A. Exelon Generation regularly and routinely avails itself of the protection of

                   Missouri laws in St. Louis County courts, and regularly appears to defend itself

                   in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the conduct including acts

                   and omissions of Exelon Generation and their subsidiaries, agents, and

                   representatives within the State of Missouri, which gave rise to the violations

                   of law and damage to property alleged in the Petition.

       25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

is a Missouri corporation with its principal place of business in Missouri.

       26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

now and was at all times herein mentioned a public entity organized and existing pursuant to

Article 6, Section 31 of the Missouri Constitution.

                              CLASS ACTION ALLEGATIONS

       27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

52.08 on behalf of all owners of real property with any portion within the FEMA one hundred year

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flood plain of Coldwater Creek1 in St. Louis County, Missouri as detailed below.

          28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

recover damages to their property and to obtain injunctive relief in the form of a total and complete

cleanup of the contamination and to prevent and eliminate further contamination.

          29.     This action is maintainable as a class action and should be certified under Missouri

Supreme Court Rule 52.08.

          30.     The proposed class for property damage claims is defined as follows (“Property

Damage Subclass”):

                  All persons who currently own real property with any portion within the
                  FEMA one hundred year flood plain of Coldwater Creek in St. Louis County,
                  Missouri, bounded by St. Charles Rock Road to the southwest and Old Halls
                  Ferry Road to the northeast, as shown in the map in Figure 1 below.




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    https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                      Figure 1. Class Area




“Own,” in the context of the class definition, includes those who hold any fee simple estate or life

estate.

          31.   The proposed class for medical monitoring is defined as follows (“Medical

Monitoring Subclass”):

                All persons who currently reside, or have resided since 1973, on a
                property with any portion within the FEMA one hundred year flood
                plain of Coldwater Creek in St. Louis County, Missouri, bounded by
                St. Charles Rock Road to the southwest and Old Halls Ferry Road to
                the northeast, as shown in the map in Figure 1 above.

          32.   Excluded from the Property Damage Subclass and the Medical Monitoring


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Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

excluded are the immediate family members of the above persons. Also excluded is any trial judge

who may preside over this case. The requirements for maintaining this action as a class action are

satisfied, as set forth immediately below.

       33.     The proposed Class is so numerous that the individual joinder of all absent class

members is impracticable. While the exact number of absent Class Members is unknown to

Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

belief, alleges that the proposed Class may include more than twenty-five members. The

requirement of numerosity is therefore satisfied.

       34.     Common questions of law or fact exist as to all proposed Class Members and

predominate over any questions which affect only individual members of the proposed Classes,

the answers to which will drive classwide resolution of the claims of the proposed Class. These

common questions of law or fact include:

               a. Whether Defendants engaged in the abnormally dangerous activity of

                   processing, storing or transporting radioactive waste;

               b. Whether Defendants unreasonably and unlawfully processed, stored or

                   transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                   Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

               c. Whether Defendants created and continue to create a high degree of risk of harm

                   to Plaintiff and Class Members’ property;

               d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

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                   willfully, wantonly and maliciously allowed the emission of Radon gas and

                   radioactive particles onto and around Plaintiff and Class Members’ property;

               e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                   Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                   Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of

                   use and enjoyment of their property;

               f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                   Defendants’ actions;

               g. Whether Plaintiff and Class are entitled to damages; and

               h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                   punitive damages.

       35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

Class Members own land within the FEMA one hundred year flood plain of Coldwater Creek in

St. Louis County, Missouri near the locations where Defendants recklessly stored, transported and

dumped radioactive waste.

       36.     Plaintiff will fairly and adequately represent the interests of the members of the

Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

retained competent attorneys who have experience in class action litigation.

       37.     Defendants have acted or refused to act on grounds that apply generally to the Class

as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

       38.     Unless a class-wide injunction is issued, Defendants will continue to allow

contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

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resulting in harm to thousands of Missouri citizens.

          39.   A class action is a superior method for the fair and efficient adjudication of this

controversy. The adjudication of a separate action by individual members of the classes would

create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

class; or (b) adjudications with respect to individual members of the class which would as a

practical matter be dispositive of the interests of the other members not parties to the adjudications

or substantially impair or impede their ability to protect their interests. Upon information and

believe each of the Class Members suffered the same sort of damages and injuries as those suffered

by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

(“HISS”). In addition, this class action will allow for the resolution of identical claims in an

efficient manner that avoids fragmented litigation in which inconsistent results could occur.

          40.   Questions of law or fact common to the members of the Class predominate over

any questions affecting only individual members. There is no special interest in the members of

the classes individually controlling the prosecution of separate action. The expense and burden of

individual litigation make it impossible for the Class Members individually to address the wrongs

done to them.

          41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

relating to Defendants’ alleged violations will be applicable to all members of the class; there are

accepted means for notifying class members who have suffered injuries and damages described

herein.

          42.   More than two-thirds of the class members are citizens of Missouri.

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       43.      The principal injuries resulting from the conduct of the Defendants were incurred

in Missouri.

       44.      The conduct alleged in this Petition took place in Missouri.

                A. The radioactive waste at issue in this case was generated as a result of chemical

                   processes that took place in facilities in St. Louis

                B. All transportation of radioactive waste alleged herein took place in Missouri

                C. All processing of radioactive waster alleged herein took place in Missouri.

                D. All storage of radioactive waste alleged herein took place in Missouri

       45.      Defendants engaged in creation, storage, processing and transportation of

radioactive wastes in the state of Missouri, benefiting from the protection and operation of

Missouri law.

       46.      No class action asserting similar factual allegations has been filed against any of

the Defendants in the preceding three years.

       47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

Rule of Civil Procedure 52.08.

                                               FACTS

                                       Radioactive Wastes

       48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

       49.      Radiation is a type of energy transmitted over a distance. Some materials

spontaneously emit radiation through a process known as radioactive decay. As these materials

decay they release radiation energy and transform into other radioactive materials which will then

also decay by releasing radiation energy and transforming into other materials.

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       50.     Some radiation energies, including the radiation from the decay of radioactive

materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other

material. When radiation energy interacts with other material, it causes a process called ionization2

which can damage chemical structures. When the “other material” that ionizing radiation passes

through is human cells, it can cause damage within those cells resulting in mutation in genetic

material which can lead to cancer and other harms.

       51.     People are exposed to radiation in two ways: external exposure from radioactive

material in the environment and internal exposure by radioactive material that has entered the

body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

wounds in the skin. The material taken in will internally expose the organs and tissues for as long

as it remains inside the body.

       52.     One characteristic of the impact of exposure to ionizing radiation on the human

body through both internal and external exposure is that even if the energy absorbed is low, the

biological effects can still be gravely serious. The second characteristic is that there are latent

biological effects of radiation.




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  Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
has enough energy to cause changes in atoms through a process called ionization. Ionization can
affect the atoms in living things and depending on the dose and exposure, can pose a serious
health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
health-effects
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        53.     The injuries resulting from exposure to ionizing radiation can also be separated into

two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the

individual exposed. This can be damages to the skin, reproductive system, blood forming system,

digestive system, central nervous system, and immune system, as well as cancers. Illnesses such

as cancers may take a number of years to appear.

        54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

descendants of the exposed persons may greatly increase. These genetic mutations can be passed

down to a person’s offspring even generations later. These injuries include birth abnormalities

and cancer.

        55.     One of the most dangerous aspects of radioactive materials is the length of time that

radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

materials decay over time and each radioactive material gives off radiation energy as it decays and

transforms into a different material. The rate at which a radioactive isotope decays is measured in

half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

radioactive material to disintegrate. For example, after one half life, there will be one half of the

original material, after two half-lives, there will be one fourth the original material, after three half-

lives one eight the original sample, and so forth.




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                            Radioactive Waste in the St. Louis Area

         56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

association with the Manhattan Project.3 The Manhattan Project was the U.S. research project

designed to develop the first nuclear weapons.

         57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

“SLDS”) and was used to process uranium.

         58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

processing operations at the SLDS. The storage site(s) on and near the airport are now referred

to as the St. Louis Airport Site or SLAPS (“SLAPS”).

         59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

piles.

         60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several

contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

portion of SLAPS adjacent to Coldwater Creek.”




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    See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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       61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri

(the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site

(“HISS”).

       62.     These waste residues, which contained valuable metals, were sold and shipped to

various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

radioactive substances as a result.

       63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

wastes stored at both SLAPS and at the Latty Avenue Site .

       64.     Upon information and belief, as part of the contract between Cotter and the federal

government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

disposition of the materials.

       65.     Cotter did not receive indemnity from the government in connection with this

transaction.

       66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

       67.     Upon information and belief, Cotter did not have a license to dispose of enriched

thorium.

       68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

radioactive substances along haul routes to nearby properties.



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                              Saint Louis Airport Site (“SLAPS”)

       69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport

Site (“SLAPS”) site by condemnation proceedings in 1947.

       70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were

transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

cake, barium sulfate cake, and C-liner slag.

       71.     From 1953, the property was managed and operated by Mallinckrodt.

       72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

       73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

City of St. Louis, by quitclaim deed.

       74.     Despite knowing that significant activities involving radioactive material were

conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

radioactive wastes, including into Coldwater Creek.

                                        Latty Avenue Site

       75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

removed from the SLAPS in various stages. Some of the wastes were transported to property at

9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

storage.

       76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

property.

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       77.     Despite knowing that significant activities involving radioactive material were

conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of

hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                       Coldwater Creek

       78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

County, and along the northern edge of the community of Black Jack, until it discharges into the

Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

contaminated with hazardous, toxic, and radioactive materials.

       79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

level storage area.

       80.     By 1960, there were approximately 50,000 chemical drums and approximately

3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

to support construction, resulting in commingling of the site soils and sediments with hazardous,

toxic, and radioactive wastes brought to the SLAPS.

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       81.     During the 1960s, some of the waste residues were transported to the Latty Avenue

Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

the Cotter Corporation.

       82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

FEMA one hundred year flood plain of Coldwater Creek.

       83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

continues to flow through northern St. Louis County until it discharges into the Missouri River.

       84.     Coldwater Creek floods areas of the North St. Louis County including portions of

the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

and increases the likelihood of local and area-wide flooding.

       85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

Creek is believed to be contaminated with radioactive particles, including radium, thorium and

uranium.

           Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

       86.     The Banks Property is contaminated by radioactive material.

       87.     Samples taken on and around the Banks Property confirm an elevated presence of

radioactive particles, significantly above the normal background level of radiation.

       88.     The Banks Property neighbors Coldwater Creek and is within its flood plain. This

proximity puts the Banks Property in the direct path of radioactive particles and contamination

spread in and by Coldwater Creek.

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       89.      The radioactive contamination that has polluted the Banks Property and continues

to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

radioactive wastes generated in the processing of uranium ores in the St. Louis area.

       90.      This radioactive contamination was caused by the Defendants’ improper handling,

storage, and disposal of radioactive materials.

       91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

for normal use and enjoyment, and destroys its fair market value.

       92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

injunction is not granted requiring Defendants conduct a total and complete cleanup of the

contamination and to prevent and eliminate further contamination.

                                    COUNT I – TRESPASS
             (brought individually and on behalf of the Property Damage Subclass)

       93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

Missouri, more particularly described above.

       95.      Defendants generated massive quantities of extremely dangerous radioactive

wastes and failed to ensure of their proper disposal.

       96.      Defendants purchased massive quantities of highly toxic radioactive wastes and

failed to properly dispose of these wastes.




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         97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

at a facility unfit to handle such wastes.

         98.    Defendants have used these radioactive materials in a manner that is unreasonable,

unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

Property Damage Subclass (“Plaintiffs’ property”).

         99.    Defendants have caused these radioactive materials to migrate from Defendants’

property and other storage locations and contaminate Plaintiffs’ property.

         100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

particles onto and around Plaintiffs’ property through their improper disposal of radioactive

wastes

         101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

         102.   Defendants store and/or transport radioactive materials and other toxic and

hazardous wastes, as alleged herein.

         103.   Defendants have used these radioactive materials in a manner that is unreasonable,

unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

         104.   Defendants have caused these radioactive materials to migrate and contaminate

Plaintiffs’ property.

         105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

and radioactive particles onto and around the property of Plaintiffs’ property through their use,

transport and disposal of radioactive wastes.



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          106.   It was reasonably foreseeable that Defendants’ actions would and will continue to

contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

wastes.

          107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff

and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

and of the Property Damage Subclass.

          108.   Plaintiff did not give Defendants permission or consent to interfere with her

property in this manner. Through Defendants’ actions and inactions, they are illegally and

improperly using Plaintiffs’ property to store radioactive wastes.

          109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

and other hazardous wastes, has resulted in significant damage to the property.

          110.   As a direct and proximate cause of this continuing and recurring physical

interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

injury, including decreased property value.

                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

          111.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

          112.   Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,

Missouri, more particularly described above.


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       113.    Defendants unreasonably and unlawfully stored and used radioactive materials at

the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

Coldwater Creek, which adjoins Plaintiffs’ property.

       114.    The Defendants caused and contributed to the radioactive contamination of

Plaintiffs’ property.

       115.    The radioactive waste caused by Defendants results from permanent construction

that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

presence of the radioactive waste in Coldwater Creek.

       116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

nuisance per se.

       117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of their property. Such contamination is incompatible with the normal use and

enjoyment of the Banks Property.

       118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

substantial.

       119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of the property.



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       120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

property causes inconvenience to Plaintiffs and prevents them from using the property.

       121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

property value.

                          COUNT III – TEMPORARY NUISANCE
            (brought individually and on behalf of the Property Damage Subclass)

       122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

Missouri, more particularly described Paragraph 11 above.

       124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

Coldwater Creek, which adjoins Plaintiffs’ property.

       125.    The Defendants caused and contributed to the radioactive contamination of

Plaintiffs’ property.

       126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of their property. Such contamination is incompatible with the normal use and

enjoyment of the Banks Property.




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       127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

substantial.

       128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

and maliciously allowed various hazardous substances into Coldwater Creek resulting in

unreasonable interference with Plaintiffs’ use and enjoyment of the property.

       129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

from using the property.

       130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

decreased property value.

                                COUNT IV – NEGLIGENCE
            (brought individually and on behalf of the Property Damage Subclass)

       131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

as if each were set forth fully herein.

       132.    Radioactive isotopes are known human carcinogens and are among the most toxic

materials known to man. When property becomes contaminated with these wastes, the dangers

can persist in the environment for thousands of years. Radioactive wastes should be handled,

stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

as low as is reasonably achievable.




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        133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

of the radioactive wastes in order to prevent significant injury to property and persons.

        134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential

hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

of the fact that discharges or releases of these substances had occurred and were likely to occur in

the future.

        135.   Further, Defendants had a duty to comply with applicable state, federal, and local

governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

and/or disposing of hazardous, toxic, and radioactive waste materials.

        136.   Defendants breached these duties by their reckless, negligent and grossly negligent

processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

        into the communities around Coldwater Creek. These actual and continued releases have

subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

        137.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

releases, an omission that was reckless, negligent and grossly negligent.

        138.    Defendants failed to act to prevent their releases from harming Plaintiffs.



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       139.    Defendants knew or should have known that their generation, management,

storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

contaminating it with radioactive particles, toxic and other hazardous substances.

       140.    Upon information and belief, Defendants’ negligent training of personnel handling

radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

Plaintiff’s property.

       141.    Defendants’ negligence throughout the history of the mishandling and improper

dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

disregard of applicable regulations and property rights.

       142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

Plaintiffs’ property value.

       143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

negligence.

       144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

by Defendants.

       145.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

any way.




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                             COUNT V – NEGLIGENCE PER SE
             (brought individually and on behalf of the Property Damage Subclass)

          146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

as if each were set forth fully herein.

          147.   Defendants violated Missouri regulations for Protection against Ionizing

Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

the safe storage and disposal of radioactive material so as to protect the health and safety of the

public.

          148.   Plaintiffs are members of the class of persons that the Missouri regulations for

Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

and Missouri Air Conservation regulations were intended to protect

          149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

regulations were designed to prevent.

          150.   Defendants’ violations of Missouri regulations for Protection against Ionizing

Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

Conservation regulations were the proximate cause of Plaintiffs’ injuries.


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       151.    Defendants’ negligence throughout the history of the mishandling and improper

dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

applicable regulations and disregard for property rights.

       152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

Plaintiffs’ property value.

       153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

any way.

               COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
           (brought individually and on behalf of the Property Damage Subclass)

       154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

and/or disposing of radioactive waste.

       156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

created and continue to create a high degree of risk of harm to Plaintiffs’ property.

       157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

handling, storing, and/or disposing of radioactive waste.

       158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

property was contaminated with radioactive materials and they suffered and continue to suffer




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injury, including diminished property value. Such contamination is incompatible with the normal

use and enjoyment of Plaintiff’s Property.

        159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

storing, and/or disposing of radioactive waste.

        160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

        161.    Accordingly, Defendants are jointly and severally liable for any and all damages

Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

radioactive materials, including, without limitation, any incidental or consequential damages.

                             COUNT VII – INJUNCTIVE RELIEF
                        (brought individually and on behalf of the Class)

        162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

        163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

Class with hazardous, toxic, carcinogenic, radioactive wastes.

        164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

the property of Plaintiff and the proposed Class.

        165.    The radioactive contamination of the property of Plaintiff and the proposed Class

has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and

Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

throughout the Property.




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       166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

conduct, and does not arise from the innocent conduct of the homeowners.

       167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants

to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,

consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

to require the Defendants to respond to the consequences of this tortious contamination by

providing the necessary medical monitoring in the form of environmental testing, clean-up, and

medical tests as indicated by the results of the scientific evaluation.

       168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

ordered and court-supervised fund (with a court-appointed trustee if the court deems that

appropriate) to provide for the necessary monitoring.

       169.    Such injunctive and equitable relief will decrease the radioactive contamination

risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

damages.

                            COUNT VIII – PUNITIVE DAMAGES
                        (brought individually and on behalf of the Class)

       170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.




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        171.    .Defendants committed one or more of the willful, wanton and malicious acts more

fully set forth above which individually or cumulatively justify the award of punitive damages in

this matter.

        172.    Defendants knew or had information from which, in the exercise of ordinary care,

should have known that such conduct, as detailed above, created a high degree of probability of

injury to Plaintiff and others similarly situated.

        173.    The willful, wanton and malicious acts of Defendants, as detailed above, evidence

Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

others similarly situated.

                        COUNT IX – INVERSE CONDEMNATION
           (brought individually and on behalf of the Property Damage Subclass
       against the St. Louis Airport Authority, a department of the City of St. Louis)

        174.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

        175.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

operates St. Louis Lambert International Airport, located partially on the SLAPS.

        176.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

and effectively took the property of Plaintiff and the Property Damage Subclass for public use

without just compensation.

        177.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

and Coldwater Creek.

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       178.    The St. Louis Airport Authority, a department of the City of St. Louis, took

affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

       179.    The St. Louis Airport Authority, a department of the City of St. Louis, took

affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

leached from the site into Coldwater Creek.

       180.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

operation and maintenance of St. Louis Lambert International Airport.

       181.    The conduct of the St. Louis Airport Authority, a department of the City of St.

Louis, as alleged herein constituted and invasion and appropriation of the property rights of

Plaintiff and the Property Damage Subclass.

       182.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

property valueless.

                COUNT X – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                     CONSTITUTION
               (brought individually and on behalf of the Property Damage Subclass
           against the St. Louis Airport Authority, a department of the City of St. Louis)

       183.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.




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       184.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

of life, liberty or property without due process of law.”

       185.    Plaintiffs and Class had, and have, an established constitutional right not to be

deprived of their personal property without due process of law.

       186.    The conduct of the St. Louis Airport Authority, a department of the City of St.

Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

and property rights under Article I § 10 of the Missouri Constitution.

       187.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

injunction or other equitable relief.

               COUNT XI – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                     CONSTITUTION
               (brought individually and on behalf of the Property Damage Subclass
           against the St. Louis Airport Authority, a department of the City of St. Louis)

       188.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       189.    Article I § 26 of the Missouri Constitution states that “private property shall not be

taken or damaged for public use without just compensation.”

       190.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,




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warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

and Coldwater Creek.

       191.    The conduct of the St. Louis Airport Authority, a department of the City of St.

Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

of Plaintiff and the Property Damage Subclass.

       192.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

provided compensation for these takings to Plaintiff or the Property Damage Subclass.

                                    PRAYER FOR RELIEF

       WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a

Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,

as well as awarding the following to Plaintiffs and against Defendants:

           a. an award of actual, general, special, incidental, statutory, compensatory and

               consequential damages in an amount to be proven at trial, including compensatory

               damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

               discomfort; damage to Plaintiffs’ personal property; the diminution in the market

               value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

               of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

               relocation;

           b. an award of double damages for malicious trespass as provided for under RSMo. §

                                                 38
                                                                                                 Electronically Filed - St Louis County - February 18, 2018 - 08:44 PM
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            537.330;

         c. an award of punitive and exemplary damages as fair and reasonable in an amount

            sufficient to punish Defendants and to deter similar conduct in the future;

         d. costs and attorney fees;

         e. interest on the above amounts as allowed by law;

         f. for appropriate injunctive and equitable relief, as permitted by law or equity

            including a preliminary and/or permanent injunction enjoining Defendants from

            continuing the unlawful conduct as set forth herein and directing Defendants to

            identify, with Court supervision, members of the Class in order to compensate them

            and to clean up all contamination, and including medical monitoring; and

         g. for any further relief this Court deems just and proper.

                                         Respectfully submitted,

                                         KEANE LAW LLC

                                          /s/ Ryan A. Keane

                                         Ryan A. Keane, # 62112
                                         Alex Braitberg, # 67045
                                         7777 Bonhomme Ave., Ste. 1600
                                         St. Louis, MO 63105
                                         Phone: (314) 391-4700
                                         Fax: (314) 244-3778
                                         ryan@keanelawllc.com
                                         alex@keanelawllc.com

                                         JOHNSON GRAY, LLC
                                         Anthony D. Gray, # 51534
                                         319 North 4th Street, Suite 212
                                         St. Louis, MO 63102
                                         Phone: (314) 385-9500
                                         agray@johnsongraylaw.com

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                                                                                          Electronically Filed - St Louis County - February 18, 2018 - 08:44 PM
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                                   COOPER LAW FIRM, L.L.C.
                                   Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                   forthcoming
                                   Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                   forthcoming
                                   508 St. Philip Street
                                   New Orleans, LA 70116
                                   Phone: (504) 566-1558
                                   bcooper@sch-llc.com
                                   cbrustowicz@sch-llc.com

                                   and

                                   RON AUSTIN & ASSOCIATES, L.L.C.
                                   Ron A. Austin, LA Bar # 23630, pro hac vice
                                   forthcoming
                                   920 4th Street
                                   Gretna, Louisiana 70053
                                   Phone: (504) 227-8100
                                   Fax: (504) 227-8122
                                   raustin@austin-associates.net

                                   Attorneys for Plaintiffs and proposed Class




                                         40
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 41 of 280 PageID #: 88

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 TAMIA BANKS                                                    RYAN A. KEANE
                                                                7777 Bonhomme Ave.
                                                                SUITE 1600
                                                         vs.    ST LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 COTTER CORPORATION                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                         (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: EXELON GENERATION COMPANY, LLC
                              Alias:
  R/A: CORPORATE CREATIONS NETWORK
  INC
  350 S. NORTHWEST HIGHWAY, SUITE 300
  PARK RIDGE, IL 60068
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   20-FEB-2018                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-184           1         (18SL-CC00617)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 42 of 280 PageID #: 89
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-184     2        (18SL-CC00617)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 43 of 280 PageID #: 90


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-184   3    (18SL-CC00617)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 44 of 280 PageID #: 91


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-184   4   (18SL-CC00617)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 45 of 280 PageID #: 92

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 TAMIA BANKS                                                    RYAN A. KEANE
                                                                7777 Bonhomme Ave.
                                                                SUITE 1600
                                                         vs.    ST LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 COTTER CORPORATION                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                         (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: EXELON CORPORATION
                              Alias:
  R/A: CORPORATE CREATIONS NETWORK
  INC
  350 S. NORTHWEST HIGHWAY, SUITE 300
  PARK RIDGE, IL 60068
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   20-FEB-2018                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-183           1         (18SL-CC00617)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 46 of 280 PageID #: 93
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-183     2        (18SL-CC00617)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 47 of 280 PageID #: 94


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-183   3    (18SL-CC00617)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 48 of 280 PageID #: 95


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-183   4   (18SL-CC00617)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 49 of 280 PageID #: 96

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 TAMIA BANKS                                                    RYAN A. KEANE
                                                                7777 Bonhomme Ave.
                                                                SUITE 1600
                                                         vs.    ST LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 COTTER CORPORATION                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                         (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: COMMONWEALTH EDISON COMPANY
                              Alias:
  R/A: CORPORATE CREATIONS NETWORK
  INC
  350 S. NORTHWEST HIGHWAY, SUITE 300
  PARK RIDGE, IL 60068
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   20-FEB-2018                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-182           1         (18SL-CC00617)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 50 of 280 PageID #: 97
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-182     2        (18SL-CC00617)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 51 of 280 PageID #: 98


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-182   3    (18SL-CC00617)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 52 of 280 PageID #: 99


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-182   4   (18SL-CC00617)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 53 of 280 PageID #: 100

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 TAMIA BANKS                                                    RYAN A. KEANE
                                                                7777 Bonhomme Ave.
                                                                SUITE 1600
                                                         vs.    ST LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 COTTER CORPORATION                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                         (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: COTTER CORPORATION
                              Alias:
  R/A: THE CORPORATION COMPANY
  7700 E. ARAPAHOE ROAD, SUITE 220
  CENTENNIAL, CO 80112
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   20-FEB-2018                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-181           1         (18SL-CC00617)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 54 of 280 PageID #: 101
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-181     2        (18SL-CC00617)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 55 of 280 PageID #: 102


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-181   3    (18SL-CC00617)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 56 of 280 PageID #: 103


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
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Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-181   4   (18SL-CC00617)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                                                                                                                                          Electronically Filed - St Louis County - March 01, 2018 - 10:47 AM
             Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 57 of 280 PageID #: 104

In the
CIRCUIT COURT                                                                                                                           ┌                                             ┐
                                                                                                                                                     For File Stamp Only
Of St. Louis County, Missouri
                                                                            March 1, 2018
                                                                           _________________________
__________________________________________
 Tamia Banks, et al.                                                       Date
Plaintiff/Petitioner
                                                                            18SL-CC00617
                                                                           _________________________
                                                                           Case Number
vs.
                                                                            2
                                                                           _________________________
 Cotter Corporation, et al.
__________________________________________                                 Division

                                                                                                                                        └                                             ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                                                Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Jose Pineiro, Missouri Process Serving LLC 1430 Washington Ave., Suite 220, St. Louis, MO 63103 314-825-5512
        Name of Process Server                                            Address                                                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                                            Address or in the Alternative                                                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                                            Address or in the Alternative                                                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                                          SERVE:
        ____________________________________________
         DJR Holdings, Inc., f/k/a Futura Coatings, Inc. c/o Rodney D. Jarboe           ____________________________________________
                                                                                         St. Louis Airport Authority, a department of the City of St. Louis, c/o Mayor Lyda Krewson

        Name                                                                            Name
         9200 Latty Avenue
        ____________________________________________                                     St. Louis City Hall, 1200 Market St.
                                                                                        ____________________________________________
        Address                                                                         Address
         Hazelwood, MO 63042
        ____________________________________________                                     St. Louis, MO 63103
                                                                                        ____________________________________________
        City/State/Zip                                                                  City/State/Zip

        SERVE:                                                                          SERVE:
        ____________________________________________                                    ____________________________________________
        Name                                                                            Name
        ____________________________________________                                    ____________________________________________
        Address                                                                         Address
        ____________________________________________                                    ____________________________________________
        City/State/Zip                                                                  City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                    /s/ Alex Braitberg
                                                                                        ___________________________________________
                                                                                        Signature of Attorney/Plaintiff/Petitioner
                                                                                         67045
                                                                                        ___________________________________________
        By ________________________________________
                   /s/Joaquinta Jones                                                   Bar No.
            Deputy Clerk                                                                ___________________________________________
                                                                                         7777 Bonhomme Ave., Ste 1600, Clayton, MO 63105
                                                                                        Address
                         3-20-2018
        ___________________________________________                                     ___________________________________________
                                                                                         (314) 391-4700
        Date                                                                            Phone No.                                  Fax No.



        CCADM62-WS           Rev. 08/16
                                                                                      Electronically Filed - St Louis County - March 01, 2018 - 10:47 AM
  Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 58 of 280 PageID #: 105


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                               Electronically Filed - St Louis County - March 01, 2018 - 10:47 AM
    Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 59 of 280 PageID #: 106

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                                                                                                                          Electronically Filed - St Louis County - March 01, 2018 - 10:47 AM
             Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 60 of 280 PageID #: 107

In the
CIRCUIT COURT                                                                                                                           ┌                                             ┐
                                                                                                                                                     For File Stamp Only
Of St. Louis County, Missouri
                                                                            March 1, 2018
                                                                           _________________________
__________________________________________
 Tamia Banks, et al.                                                       Date
Plaintiff/Petitioner
                                                                            18SL-CC00617
                                                                           _________________________
                                                                           Case Number
vs.
                                                                            2
                                                                           _________________________
 Cotter Corporation, et al.
__________________________________________                                 Division

                                                                                                                                        └                                             ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                                                Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Jose Pineiro, Missouri Process Serving LLC 1430 Washington Ave., Suite 220, St. Louis, MO 63103 314-825-5512
        Name of Process Server                                            Address                                                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                                            Address or in the Alternative                                                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                                            Address or in the Alternative                                                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                                          SERVE:
        ____________________________________________
         DJR Holdings, Inc., f/k/a Futura Coatings, Inc. c/o Rodney D. Jarboe           ____________________________________________
                                                                                         St. Louis Airport Authority, a department of the City of St. Louis, c/o Mayor Lyda Krewson

        Name                                                                            Name
         9200 Latty Avenue
        ____________________________________________                                     St. Louis City Hall, 1200 Market St.
                                                                                        ____________________________________________
        Address                                                                         Address
         Hazelwood, MO 63042
        ____________________________________________                                     St. Louis, MO 63103
                                                                                        ____________________________________________
        City/State/Zip                                                                  City/State/Zip

        SERVE:                                                                          SERVE:
        ____________________________________________                                    ____________________________________________
        Name                                                                            Name
        ____________________________________________                                    ____________________________________________
        Address                                                                         Address
        ____________________________________________                                    ____________________________________________
        City/State/Zip                                                                  City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                    /s/ Alex Braitberg
                                                                                        ___________________________________________
                                                                                        Signature of Attorney/Plaintiff/Petitioner
                                                                                         67045
                                                                                        ___________________________________________
        By ________________________________________                                     Bar No.
            Deputy Clerk                                                                ___________________________________________
                                                                                         7777 Bonhomme Ave., Ste 1600, Clayton, MO 63105
                                                                                        Address
        ___________________________________________                                     ___________________________________________
                                                                                         (314) 391-4700
        Date                                                                            Phone No.                                  Fax No.



        CCADM62-WS           Rev. 08/16
                                                                                      Electronically Filed - St Louis County - March 01, 2018 - 10:47 AM
  Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 61 of 280 PageID #: 108


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                                                                                            Electronically Filed - St Louis County - March 01, 2018 - 10:46 AM
             Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 62 of 280 PageID #: 109

In the
CIRCUIT COURT                                                                                                          ┌                                ┐
                                                                                                                                For File Stamp Only
Of St. Louis County, Missouri
                                                                             March 1, 2018
                                                                            _________________________
__________________________________________
 Tamia Banks, et al.                                                        Date
Plaintiff/Petitioner
                                                                             18SL-CC00617
                                                                            _________________________
                                                                            Case Number
vs.
                                                                             2
                                                                            _________________________
 Cotter Corporation, et al.
__________________________________________                                  Division

                                                                                                                       └                                ┘
Defendant/Respondent




                        REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                                                 Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Jose Pineiro, Missouri Process Serving LLC 1430 Washington Ave., Suite 220, St. Louis, MO 63103 314-825-5512
        Name of Process Server                                             Address                                                          Telephone

        ___________________________________________________________________________
        Name of Process Server                                             Address or in the Alternative                                    Telephone

        ___________________________________________________________________________
        Name of Process Server                                             Address or in the Alternative                                    Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                                           SERVE:
        ____________________________________________
         Commonwealth Edison Company, c/o Corporate Creations Network, Inc.              ____________________________________________
                                                                                          Exelon Corporation, c/o Corporate Creations Network, Inc.
        Name                                                                             Name
         350 S. Northwest Highway, Suite 300
        ____________________________________________                                      350 S. Northwest Highway, Suite 300
                                                                                         ____________________________________________
        Address                                                                          Address
         Park Ridge, IL 60068
        ____________________________________________                                      Park Ridge, IL 60068
                                                                                         ____________________________________________
        City/State/Zip                                                                   City/State/Zip

        SERVE:                                                                           SERVE:
        ____________________________________________
         Exelon Generation Company, LLC, c/o Corporate Creations Network, Inc.            Cotter Corporation c/o The Corporation Company
                                                                                         ____________________________________________
        Name                                                                             Name
         350 S. Northwest Highway, Suite 300
        ____________________________________________                                      7700 E Arapahoe Rd Ste 220
                                                                                         ____________________________________________
        Address                                                                          Address
         Park Ridge, IL 60068
        ____________________________________________                                      Centennial, CO 80112-1268
                                                                                         ____________________________________________
        City/State/Zip                                                                   City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                     /s/ Alex Braitberg
                                                                                         ___________________________________________
                                                                                         Signature of Attorney/Plaintiff/Petitioner
                              /s/Joaquinta Jones                                          67045
                                                                                         ___________________________________________
        By ________________________________________                                      Bar No.
            Deputy Clerk                                                                 ___________________________________________
                                                                                          7777 Bonhomme Ave., Ste 1600, Clayton, MO 63105
                                                                                         Address
                           3-20-2018                                                     ___________________________________________
                                                                                          (314) 391-4700
        ___________________________________________
        Date                                                                             Phone No.                                  Fax No.



        CCADM62-WS            Rev. 08/16
                                                                                      Electronically Filed - St Louis County - March 01, 2018 - 10:46 AM
  Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 63 of 280 PageID #: 110


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                               Electronically Filed - St Louis County - March 01, 2018 - 10:46 AM
    Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 64 of 280 PageID #: 111

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                                                                                            Electronically Filed - St Louis County - March 01, 2018 - 10:46 AM
             Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 65 of 280 PageID #: 112

In the
CIRCUIT COURT                                                                                                          ┌                                ┐
                                                                                                                                For File Stamp Only
Of St. Louis County, Missouri
                                                                             March 1, 2018
                                                                            _________________________
__________________________________________
 Tamia Banks, et al.                                                        Date
Plaintiff/Petitioner
                                                                             18SL-CC00617
                                                                            _________________________
                                                                            Case Number
vs.
                                                                             2
                                                                            _________________________
 Cotter Corporation, et al.
__________________________________________                                  Division

                                                                                                                       └                                ┘
Defendant/Respondent




                        REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                                                 Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Jose Pineiro, Missouri Process Serving LLC 1430 Washington Ave., Suite 220, St. Louis, MO 63103 314-825-5512
        Name of Process Server                                             Address                                                          Telephone

        ___________________________________________________________________________
        Name of Process Server                                             Address or in the Alternative                                    Telephone

        ___________________________________________________________________________
        Name of Process Server                                             Address or in the Alternative                                    Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                                           SERVE:
        ____________________________________________
         Commonwealth Edison Company, c/o Corporate Creations Network, Inc.              ____________________________________________
                                                                                          Exelon Corporation, c/o Corporate Creations Network, Inc.
        Name                                                                             Name
         350 S. Northwest Highway, Suite 300
        ____________________________________________                                      350 S. Northwest Highway, Suite 300
                                                                                         ____________________________________________
        Address                                                                          Address
         Park Ridge, IL 60068
        ____________________________________________                                      Park Ridge, IL 60068
                                                                                         ____________________________________________
        City/State/Zip                                                                   City/State/Zip

        SERVE:                                                                           SERVE:
        ____________________________________________
         Exelon Generation Company, LLC, c/o Corporate Creations Network, Inc.            Cotter Corporation c/o The Corporation Company
                                                                                         ____________________________________________
        Name                                                                             Name
         350 S. Northwest Highway, Suite 300
        ____________________________________________                                      7700 E Arapahoe Rd Ste 220
                                                                                         ____________________________________________
        Address                                                                          Address
         Park Ridge, IL 60068
        ____________________________________________                                      Centennial, CO 80112-1268
                                                                                         ____________________________________________
        City/State/Zip                                                                   City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                     /s/ Alex Braitberg
                                                                                         ___________________________________________
                                                                                         Signature of Attorney/Plaintiff/Petitioner
                                                                                          67045
                                                                                         ___________________________________________
        By ________________________________________                                      Bar No.
            Deputy Clerk                                                                 ___________________________________________
                                                                                          7777 Bonhomme Ave., Ste 1600, Clayton, MO 63105
                                                                                         Address
        ___________________________________________                                      ___________________________________________
                                                                                          (314) 391-4700
        Date                                                                             Phone No.                                  Fax No.



        CCADM62-WS            Rev. 08/16
                                                                                      Electronically Filed - St Louis County - March 01, 2018 - 10:46 AM
  Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 66 of 280 PageID #: 113


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                               Electronically Filed - St Louis County - March 01, 2018 - 10:43 AM
    Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 67 of 280 PageID #: 114

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                          Electronically Filed - St Louis County - March 01, 2018 - 10:43 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 68 of 280 PageID #: 115




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


TAMIA BANKS, on behalf of herself and          )
all others similarly situated,                 )
                                               )
        Plaintiffs,                            )          Cause No.      18SL-CC00617
                                               )
vs.                                            )          Division No. 2
                                               )
COTTER CORPORATION,                            )
COMMONWEALTH EDISON COMPANY,                   )
EXELON CORPORATION, EXELON                     )
GENERATION COMPANY, LLC,                       )
DJR HOLDINGS, INC. f/k/a FUTURA                )
COATINGS, INC., and ST. LOUIS                  )
AIRPORT AUTHORITY, A DEPARTMENT                )
OF THE CITY OF ST. LOUIS,                      )
                                               )
        Defendants.                            )

                                    ENTRY OF APPEARANCE


        COMES NOW attorney Alex Braitberg and hereby enters his appearance on behalf of

Plaintiff and all others similarly situated.


        Dated: March 1, 2018                       Respectfully submitted,

                                                   KEANE LAW LLC

                                                    /s/ Alex Braitberg

                                                   Alex Braitberg, # 67045
                                                   7777 Bonhomme Ave., Ste. 1600
                                                   St. Louis, MO 63105
                                                   Phone: (314) 391-4700
                                                   Fax: (314) 244-3778
                                                   alex@keanelawllc.com
                                                                                                 Electronically Filed - St Louis County - March 01, 2018 - 10:43 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 69 of 280 PageID #: 116




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 1, 2018, a true and accurate copy of the

foregoing was served by filing it in the court’s electronic filing system.


                                                      /s/ Alex Braitberg




                                                  2
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 70 of 280 PageID #: 117

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 TAMIA BANKS                                                        RYAN A. KEANE
                                                                    7777 Bonhomme Ave.
                                                                    SUITE 1600
                                                              vs.   ST LOUIS, MO 63105
 Defendant/Respondent:                                              Court Address:
 COTTER CORPORATION                                                 ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                    105 SOUTH CENTRAL AVENUE
 CC Other Miscellaneous Actions                                     CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY OF ST. LOUIS
                                      Alias:
  MAYOR LYDA KREWSON, ST. LOUIS
  CITY HALL 1200 MARKET ST.
  ST. LOUIS, MO 63103

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                        20-MAR-2018                                    _______________________________________________________
                                         Date                                                                   Clerk
       ST. LOUIS COUNTY                Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                     _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                             Date                                     Notary Public
   Sheriff’s Fees, if applicable
   Summons                     $_______________
   Non Est                     $_______________
   Sheriff’s Deputy Salary
   Supplemental Surcharge $_____10.00_____
   Mileage                     $_______________ (_____miles @ $ ._______ per mile)
   Total                       $_______________
   A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
   suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-2198                  1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 71 of 280 PageID #: 118

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18SL-CC00617
 MAURA B MCSHANE
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 TAMIA BANKS                                                        RYAN A. KEANE
                                                                    7777 Bonhomme Ave.
                                                                    SUITE 1600
                                                              vs.   ST LOUIS, MO 63105
 Defendant/Respondent:                                              Court Address:
 COTTER CORPORATION                                                 ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                    105 SOUTH CENTRAL AVENUE
 CC Other Miscellaneous Actions                                     CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: DJR HOLDINGS, INC. F/K/A FUTURA COATINGS, INC.
                                      Alias:
  RODNEY D. JARBOE
  9200 LATTY AVE.
  HAZELWOOD, MO 63042

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                        20-MAR-2018                                    _______________________________________________________
                                         Date                                                                   Clerk
       ST. LOUIS COUNTY                Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                     _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                             Date                                     Notary Public
   Sheriff’s Fees, if applicable
   Summons                     $_______________
   Non Est                     $_______________
   Sheriff’s Deputy Salary
   Supplemental Surcharge $_____10.00_____
   Mileage                     $_______________ (_____miles @ $ ._______ per mile)
   Total                       $_______________
   A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
   suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-2197                  1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                               Electronically Filed - St Louis County - March 26, 2018 - 05:01 PM
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following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 04:58 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 73 of 280 PageID #: 120
                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 04:58 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 74 of 280 PageID #: 121
                                                                                               Electronically Filed - St Louis County - March 26, 2018 - 05:00 PM
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SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 05:00 PM
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                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 05:00 PM
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                                                                                               Electronically Filed - St Louis County - March 26, 2018 - 04:58 PM
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following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 05:01 PM
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                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 05:01 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 80 of 280 PageID #: 127
                                                                                               Electronically Filed - St Louis County - March 26, 2018 - 04:57 PM
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SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
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                                                                                    Electronically Filed - St Louis County - March 26, 2018 - 04:57 PM
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following parties:



SERVICE PARTY:ALEXANDER L BRAITBERG, Attorney for Plaintiff
SERVICE EMAIL: alex@keanelawllc.com
                                                                                                     Electronically Filed - St Louis County - April 02, 2018 - 06:16 PM
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


TAMIA BANKS, on behalf of herself and
                                )
all others similarly situated,  )
                                )
      Plaintiff,                )                            Cause No. 18SL-CC00617
                                )
      vs.                       )                            Division No. 2
                                )
COTTER CORPORATION,             )
COMMONWEALTH EDISON COMPANY, )                               JURY TRIAL DEMANDED
EXELON CORPORATION,             )
EXELON GENERATION COMPANY, LLC, )
DJR HOLDINGS, INC. f/k/a FUTURA )
COATINGS, INC., and ST. LOUIS   )
AIRPORT AUTHORITY, A            )
DEPARTMENT OF THE CITY OF       )
ST. LOUIS                       )
                                )
      Defendants.               )

                      FIRST AMENDED CLASS ACTION PETITION

       COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

by and through counsel, and for her First Amended Class Action Petition and causes of action

against Defendants Cotter Corporation, Commonwealth Edison Company, Exelon Corporation,

Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St.

Louis Airport Authority, a department of the City of St. Louis, states and alleges as follows:

       1.      Since World War II, big companies have made significant profits processing,

handling, and storing radioactive materials in the St. Louis area. This activity began six decades

ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

with high levels of radium from Africa. This special ore was extremely toxic—more so than the

ores available from anywhere else in the world. Despite the fact that these materials were some of
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the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

materials with less care than a reasonable person might give in moving common household

garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

Louis Airport, then to Hazelwood.

       2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to

the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout

North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis

Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

       3.      Since then, that radioactive material, negligently dumped in an area surrounded by

peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

who want nothing more than to play in the backyard; and small business owners who had invested

everything to build the American dream for their families. These everyday St. Louisans now find

their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

properties worthless. They find their once-quaint neighborhoods filled with technicians testing

and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

toxicity of the radioactive material Defendants have dumped into their lives.

       4.      Tests conducted by representatives of the United States of America and others now

confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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found today in the real property, which contains businesses and homes, surrounding the Coldwater

Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

       5.      These radioactive wastes are known human carcinogens that can cause chronic

damage to the skin, reproductive system, blood forming system, digestive system, central nervous

system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

defects may take a number of years after exposure to the radioactive material to appear.

       6.      Defendants have failed to take responsibility for their negligent behavior, failed to

clean up the area, failed to move the residents and businesses out, and failed to make amends for

the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

and omissions, misleading the public about the widespread contamination Defendants have caused

and minimizing the immense risks to public health and safety that resulted from Defendants’

actions.

       7.      It is time that Defendants finally be held accountable for their reckless and tortious

conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

victims.

       8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns and resides on property in St.

Ann, Missouri that Defendants contaminated. Her home and property, along with the property of

other members of the Class, is located within the one hundred year flood plain of Coldwater Creek.




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Her property, including the land and her home, is entirely within the Coldwater Creek flood plain,

and is contaminated with radioactive waste materials from Coldwater Creek.

          9.    Testing on the Banks Property has confirmed radioactivity above normal

background levels. The source of the radioactivity is small, microscopic particles, which among

other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.

          10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained

significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff

for her damages, and provide further relief as set forth below in this Petition.

                                 JURISDICTION AND VENUE

          11.   This court has jurisdiction over the subject matter and the parties in this case

because the causes of action stated in this Petition arose out of business activities conducted solely

in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

          12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

          13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

States.

          14.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act.

                A. Coldwater Creek is not and has never been a licensed nuclear facility.

                B. Defendants have never received a license to possess, transport, or dispose of

                   any radioactive wastes on or in Coldwater Creek.

                C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                   Creek.

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               D. Defendants did not have a license to handle the particular materials they

                   handled as alleged herein, including enriched thorium.

               E. Defendants have never entered into an indemnification agreement with the

                   United States government under 42 U.S.C. § 2210 with respect to the

                   complained activities.

       15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

concerns related to liability limitation and indemnification.

       16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

to said Act.

       17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

carcinogenic wastes at issue in this Petition.

                                          THE PARTIES

                                             Plaintiffs

       18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

in St. Louis County adjacent to Coldwater Creek.

       19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

damages including damages to the Banks Property and the loss of use and enjoyment of the



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property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

material in 2018.

                                            Defendants

       20.     There are four defendants that relate in some way to Cotter Corporation, the owner

and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation

(“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon

Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).

       21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

California corporation. It was purchased by and became a wholly owned subsidiary of

Commonwealth Edison in 1975.

               A. Cotter continuously and systematically carries on business activities in the State

                    of Missouri in its own name, through its parent companies ComEd and Exelon,

                    as well as through its subsidiary General Atomics, Inc.

               B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of law and damage to property alleged in the Petition.

       22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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               A. ComEd continuously and systematically carries on business activities in the

                   State of Missouri, both on its own and through its subsidiaries including Cotter

                   and its parent company Exelon. In addition, ComEd owned Cotter at times

                   relevant to this Petition, and agreed to indemnify Cotter for liabilities associated

                   with the creation, storage, transportation, and processing of hazardous, toxic,

                   carcinogenic, radioactive wastes as alleged herein. ComEd regularly and

                   routinely avails itself of the protection of Missouri laws in St. Louis County

                   courts, and regularly appears to defend itself in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of law and damage to property alleged in the Petition.

       23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

including Cotter and ComEd, conducted business in Missouri.

               A. Exelon is the parent company of ComEd and, through its subsidiaries including

                   Cotter and ComEd, continuously and systematically carries out business

                   activities in the State of Missouri. Exelon regularly and routinely avails itself

                   of the protection of Missouri laws in St. Louis County courts, and regularly

                   appears to defend itself in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as

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                   the acts and omissions of the predecessors of the Exelon Defendants, which

                   gave rise to the violations of law and damage to property alleged in the Petition.

       24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information

and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to

indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,

LLC.

               A. Exelon Generation regularly and routinely avails itself of the protection of

                   Missouri laws in St. Louis County courts, and regularly appears to defend itself

                   in lawsuits tried here.

               B. This lawsuit arises out of damages that resulted from the conduct including acts

                   and omissions of Exelon Generation and their subsidiaries, agents, and

                   representatives within the State of Missouri, which gave rise to the violations

                   of law and damage to property alleged in the Petition.

       25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

is a Missouri corporation with its principal place of business in Missouri.

       26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

now and was at all times herein mentioned a public entity organized and existing pursuant to

Article 6, Section 31 of the Missouri Constitution.

                              CLASS ACTION ALLEGATIONS

       27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

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the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

detailed below.

          28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

recover damages to their property and to obtain injunctive relief in the form of a total and complete

cleanup of the contamination and to prevent and eliminate further contamination.

          29.     This action is maintainable as a class action and should be certified under Missouri

Supreme Court Rule 52.08.

          30.     The proposed class for property damage claims is defined as follows (“Property

Damage Subclass”):

                  All Missouri citizens who currently own real property with any portion within
                  the FEMA one hundred year flood plain of Coldwater Creek in St. Louis
                  County, Missouri, bounded by St. Charles Rock Road to the southwest and
                  Old Halls Ferry Road to the northeast, as shown in the map in Figure 1 below.




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                                      Figure 1. Class Area




“Own,” in the context of the class definition, includes those who hold any fee simple estate or life

estate.

          31.   The proposed class for medical monitoring is defined as follows (“Medical

Monitoring Subclass”):

                All Missouri citizens who currently reside, or have resided since 1973,
                on a property with any portion within the FEMA one hundred year
                flood plain of Coldwater Creek in St. Louis County, Missouri, bounded
                by St. Charles Rock Road to the southwest and Old Halls Ferry Road
                to the northeast, as shown in the map in Figure 1 above.


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       32.     Excluded from the Property Damage Subclass and the Medical Monitoring

Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

excluded are the immediate family members of the above persons. Also excluded is any trial judge

who may preside over this case. The requirements for maintaining this action as a class action are

satisfied, as set forth immediately below.

       33.     The proposed Class is so numerous that the individual joinder of all absent class

members is impracticable. While the exact number of absent Class Members is unknown to

Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

belief, alleges that the proposed Class may include more than twenty-five members. The

requirement of numerosity is therefore satisfied.

       34.     Common questions of law or fact exist as to all proposed Class Members and

predominate over any questions which affect only individual members of the proposed Classes,

the answers to which will drive classwide resolution of the claims of the proposed Class. These

common questions of law or fact include:

               a. Whether Defendants engaged in the abnormally dangerous activity of

                   processing, storing or transporting radioactive waste;

               b. Whether Defendants unreasonably and unlawfully processed, stored or

                   transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                   Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

               c. Whether Defendants created and continue to create a high degree of risk of harm

                   to Plaintiff and Class Members’ property;

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               d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                   willfully, wantonly and maliciously allowed the emission of Radon gas and

                   radioactive particles onto and around Plaintiff and Class Members’ property;

               e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                   Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                   Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of

                   use and enjoyment of their property;

               f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                   Defendants’ actions;

               g. Whether Plaintiff and Class are entitled to damages; and

               h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                   punitive damages.

       35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

transported and dumped radioactive waste.

       36.     Plaintiff will fairly and adequately represent the interests of the members of the

Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

retained competent attorneys who have experience in class action litigation.

       37.     Defendants have acted or refused to act on grounds that apply generally to the Class

as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

       38.     Unless a class-wide injunction is issued, Defendants will continue to allow

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contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

resulting in harm to thousands of Missouri citizens.

          39.   A class action is a superior method for the fair and efficient adjudication of this

controversy. The adjudication of a separate action by individual members of the classes would

create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

class; or (b) adjudications with respect to individual members of the class which would as a

practical matter be dispositive of the interests of the other members not parties to the adjudications

or substantially impair or impede their ability to protect their interests. Upon information and

believe each of the Class Members suffered the same sort of damages and injuries as those suffered

by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

(“HISS”). In addition, this class action will allow for the resolution of identical claims in an

efficient manner that avoids fragmented litigation in which inconsistent results could occur.

          40.   Questions of law or fact common to the members of the Class predominate over

any questions affecting only individual members. There is no special interest in the members of

the classes individually controlling the prosecution of separate action. The expense and burden of

individual litigation make it impossible for the Class Members individually to address the wrongs

done to them.

          41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

relating to Defendants’ alleged violations will be applicable to all members of the class; there are

accepted means for notifying class members who have suffered injuries and damages described

herein.

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       42.      All of the class members are citizens of Missouri.

       43.      The principal injuries resulting from the conduct of the Defendants were incurred

in Missouri.

       44.      The conduct alleged in this Petition took place in Missouri.

                A. The radioactive waste at issue in this case was generated as a result of chemical

                   processes that took place in facilities in St. Louis

                B. All transportation of radioactive waste alleged herein took place in Missouri

                C. All processing of radioactive waster alleged herein took place in Missouri.

                D. All storage of radioactive waste alleged herein took place in Missouri.

       45.      Defendants engaged in creation, storage, processing and transportation of

radioactive wastes in the state of Missouri, benefiting from the protection and operation of

Missouri law.

       46.      No class action asserting similar factual allegations has been filed against any of

the Defendants in the preceding three years.

       47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

Rule of Civil Procedure 52.08.

                                               FACTS

                                       Radioactive Wastes

       48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

       49.      Radiation is a type of energy transmitted over a distance. Some materials

spontaneously emit radiation through a process known as radioactive decay. As these materials



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decay they release radiation energy and transform into other radioactive materials which will then

also decay by releasing radiation energy and transforming into other materials.

       50.     Some radiation energies, including the radiation from the decay of radioactive

materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other

material. When radiation energy interacts with other material, it causes a process called ionization2

which can damage chemical structures. When the “other material” that ionizing radiation passes

through is human cells, it can cause damage within those cells resulting in mutation in genetic

material which can lead to cancer and other harms.

       51.     People are exposed to radiation in two ways: external exposure from radioactive

material in the environment and internal exposure by radioactive material that has entered the

body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

wounds in the skin. The material taken in will internally expose the organs and tissues for as long

as it remains inside the body.

       52.     One characteristic of the impact of exposure to ionizing radiation on the human

body through both internal and external exposure is that even if the energy absorbed is low, the




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  Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
has enough energy to cause changes in atoms through a process called ionization. Ionization can
affect the atoms in living things and depending on the dose and exposure, can pose a serious
health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
health-effects
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the

 individual exposed. This can be damages to the skin, reproductive system, blood forming system,

 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such

 as cancers may take a number of years to appear.

         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area

          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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 contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”

        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri

 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site

 (“HISS”).

        62.     These waste residues, which contained valuable metals, were sold and shipped to

 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.




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        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.

        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were

 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

 cake, barium sulfate cake, and C-liner slag.

        71.     From 1953, the property was managed and operated by Mallinckrodt.

        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at



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 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.

        77.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of

 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek

        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

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 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.

        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.



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        87.      Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.      The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination

 spread in and by Coldwater Creek.

        89.      The radioactive contamination that has polluted the Banks Property and continues

 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

 for normal use and enjoyment, and destroys its fair market value.

        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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          95.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

          96.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a facility unfit to handle such wastes.

          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

 Property Damage Subclass (“Plaintiffs’ property”).

          99.    Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

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           105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.




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                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

        111.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        112.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.

        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        115.    The radioactive waste caused by Defendants results from permanent construction

 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of the property.

        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)

        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.


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        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.

        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE
                         (brought individually and on behalf of the Class)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers


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 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.




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        137.    Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

        138.      Defendants failed to act to prevent their releases from harming Plaintiffs.

        139.    Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

        140.    Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiff’s property.

        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

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           145.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                               COUNT V – NEGLIGENCE PER SE
                          (brought individually and on behalf of the Class)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

           147.   Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.




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        150.    Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

        151.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                 COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
                     (brought individually and on behalf of the Class)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.


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         158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         161.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and




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 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.


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         171.      Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.      Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiff and others similarly situated.

         173.      The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                                   COUNT IX – CIVIL CONSPIRACY
                          (brought individually and on behalf of the Class)

         174.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.      Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.

         176.      Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

         177.      As result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.




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                          COUNT X – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        179.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        180.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

        181.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        182.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        183.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        184.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.



                                                 35
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        185.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        186.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        187.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        188.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        189.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.

        190.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.


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        191.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        192.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        193.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        194.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        195.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiff and the Property Damage Subclass.

        196.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




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                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a

 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,

 as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity

                including a preliminary and/or permanent injunction enjoining Defendants from

                continuing the unlawful conduct as set forth herein and directing Defendants to

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             identify, with Court supervision, members of the Class in order to compensate them

             and to clean up all contamination, and including medical monitoring; and

          g. for any further relief this Court deems just and proper.

                                          Respectfully submitted,

                                          KEANE LAW LLC

                                           /s/ Ryan A. Keane

                                          Ryan A. Keane, # 62112
                                          Alex Braitberg, # 67045
                                          7777 Bonhomme Ave., Ste. 1600
                                          St. Louis, MO 63105
                                          Phone: (314) 391-4700
                                          Fax: (314) 244-3778
                                          ryan@keanelawllc.com
                                          alex@keanelawllc.com

                                          JOHNSON GRAY, LLC
                                          Anthony D. Gray, # 51534
                                          319 North 4th Street, Suite 212
                                          St. Louis, MO 63102
                                          Phone: (314) 385-9500
                                          agray@johnsongraylaw.com

                                          COOPER LAW FIRM, L.L.C.
                                          Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                          forthcoming
                                          Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                          forthcoming
                                          508 St. Philip Street
                                          New Orleans, LA 70116
                                          Phone: (504) 566-1558
                                          bcooper@sch-llc.com
                                          cbrustowicz@sch-llc.com

                                          and




                                                39
                                                                                                  Electronically Filed - St Louis County - April 02, 2018 - 06:16 PM
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                                              RON AUSTIN & ASSOCIATES, L.L.C.
                                              Ron A. Austin, LA Bar # 23630, pro hac vice
                                              forthcoming
                                              920 4th Street
                                              Gretna, Louisiana 70053
                                              Phone: (504) 227-8100
                                              Fax: (504) 227-8122
                                              raustin@austin-associates.net

                                              Attorneys for Plaintiffs and proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 2, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Ryan A. Keane




                                                   40
                                                                                               Electronically Filed - St Louis County - April 06, 2018 - 05:12 PM
   Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 125 of 280 PageID #: 172

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                     Electronically Filed - St Louis County - April 06, 2018 - 05:12 PM
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                                                                                     Electronically Filed - St Louis County - April 06, 2018 - 05:12 PM
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                                                                                               Electronically Filed - St Louis County - April 06, 2018 - 05:11 PM
   Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 128 of 280 PageID #: 175

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
                                                                                     Electronically Filed - St Louis County - April 06, 2018 - 05:11 PM
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                                                                                     Electronically Filed - St Louis County - April 06, 2018 - 05:11 PM
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                                                                                               Electronically Filed - St Louis County - April 09, 2018 - 12:43 PM
   Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 131 of 280 PageID #: 178

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:ALEXANDER L BRAITBERG, Attorney for Plaintiff
SERVICE EMAIL: alex@keanelawllc.com
                                                                                                        Electronically Filed - St Louis County - April 09, 2018 - 12:43 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                             Cause No. 18SL-CC00617
                                 )
       vs.                       )                             Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                       MOTION FOR PRO HAC VICE ADMISSION OF
                                CATHERINE HILTON

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, the undersigned

 respectfully moves this court to permit Catherine Hilton to practice specially in this Court in

 this case as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all others

 similarly situated, to participate in the trial, proceedings and hearings herein. In support of this

 Motion, movant states:

        1.      Catherine Hilton is an attorney licensed to practice law and a member of the

 firm of Ron Austin & Associates. L.L.C, 920 4th street, Gretna, LA. 70053, telephone number

 (504) 227-8100.

        2.       Catherine Hilton and the law firm of Ron Austin & Associates, LLC have been

 retained by Plaintiffs to act as counsel in this matter. Catherine Hilton desires to be permitted to

 practice specially in this Court as counsel for Plaintiff in the above-styled cause.

        3.      Catherine Hilton is admitted to practice law in the State of Louisiana, admitted

 on April 20, 2001, the U.S. District Court for the Eastern and Middle District of Louisiana,

 admitted on May 2, 2012 and April 12, 2011. Catherine Hilton is currently licensed and in

 good standing to practice law in each jurisdiction to which she is admitted.

        4.      Neither Catherine Hilton nor any member of the firm of Ron Austin &

 Associates, LLC, with which Catherine Hilton practices, is under suspension or disbarment by

 any Court to which Catherine Hilton is admitted.
                                                                                                        Electronically Filed - St Louis County - April 09, 2018 - 12:43 PM
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        5.      Catherine Hilton is familiar with the Missouri Supreme Court Rules and will at

 all times abide by and comply with those rules as counsel herein.

        6.      Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave., Ste 1600,

 St. Louis, MO 63105, has agreed to act as associate counsel herein for Plaintiffs and to sponsor

 the motion for the pro hac vice admission of Catherine Hilton.

      WHEREFORE, Ryan Keane respectfully requests that this court permit Catherine Hilton

 to practice specially in this case as attorney of record for Plaintiff Tamia Banks, on behalf of

 herself and all others similarly situated, and to participate in the trial, proceedings and hearings

 herein. A receipt for payment of pro hac vice fees is attached as Exhibit A. A proposed order is

 attached hereto as Exhibit B.



      Dated: April 9, 2018                             Respectfully submitted,

                                                       KEANE LAW LLC

                                               By:     /s/ Ryan Keane

                                                       Ryan A. Keane, # 62112
                                                       Alex Braitberg, # 67045
                                                       7777 Bonhomme Ave, Ste 1600
                                                       St. Louis, MO 63105
                                                       Ph: (314) 391-4700
                                                       Fx: (314) 244-3778
                                                       ryan@keanelawllc.com
                                                       alex@keanelawllc.com

                                                       JOHNSON GRAY, LLC
                                                       Anthony D. Gray, # 51534
                                                       319 North 4th Street, Suite 212
                                                       St. Louis, MO 63102
                                                       Phone: (314) 385- 9500
                                                       agray@johnsongraylaw.com

                                                       COOPER LAW FIRM, L.L.C
                                                       Barry J. Cooper, Jr., TX Bar # 24057527 pro
                                                       hac vice forthcoming
                                                       Celeste Brustowicz, LA Bar # 16835 pro
                                                       hac vice forthcoming
                                                       508 St. Phillip Street
                                                       New Orleans, LA 70116
                                                       Phone: (504) 566-1558
                                                       bcooper@sch-llc.com
                                                       cbrustowicz@sch-llc.com

                                                       and




                                                   2
                                                                                                      Electronically Filed - St Louis County - April 09, 2018 - 12:43 PM
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                                                        RON AUSTIN & ASSOCIATES, L.L.C.
                                                        Ron A. Austin, LA Bar # 23630 pro hac
                                                        vice forthcoming
                                                        Catherine Hilton, LA Bar # 27238 pro hac
                                                        vice forthcoming
                                                        Lillian Williams, LA Bar # 37358 pro hac
                                                        vice forthcoming
                                                        920 4th Street
                                                        Gretna, Louisiana 70053
                                                        Telephone: (504) 227-8100
                                                        Facsimile: (504) 227-8122
                                                        raustin@ronaustinandassociates.com
                                                        chilton@ronaustinandassociates.com

                                                        Attorneys for Plaintiffs and Proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 9, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.



                                                        /s/ Ryan Keane




                                                   3
                                                                                     Electronically Filed - St Louis County - April 09, 2018 - 12:43 PM
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                         Cause No. 18SL-CC00617
                                 )
       vs.                       )                         Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                                            ORDER

        Before the Court is the Motion for Pro Hac Vice Admission of Catherine Hilton filed on

 behalf of Plaintiff Tamia Banks, on behalf of herself and all others similarly situated. Having

 considered the motion, the Court is of the opinion that the motion should be GRANTED. It is

 therefore ORDERED that Catherine Hilton is admitted pro hac vice in the above-styled matter.



 Signed the ______ day of ________________, 2018.




 __________________________________________
 Judge, Circuit Court of St. Louis County
                                                                                               Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
   Case: 4:20-cv-01227-JAR Doc. #: 1-4 Filed: 09/10/20 Page: 137 of 280 PageID #: 184

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:ALEXANDER L BRAITBERG, Attorney for Plaintiff
SERVICE EMAIL: alex@keanelawllc.com
                                                                                                        Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                              Cause No. 18SL-CC00617
                                 )
       vs.                       )                              Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                         MOTION FOR PRO HAC VICE ADMISSION OF
                                     RON AUSTIN

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, the undersigned

 respectfully moves this court to permit Ron Austin to practice specially in this Court in this

 case as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all others

 similarly situated, to participate in the trial, proceedings and hearings herein. In support of this

 Motion, movant states:

        1.         Ron Austin is an attorney licensed to practice law and a member of the firm of

 Ron Austin & Associates. L.L.C, 920 4th street, Gretna, LA. 70053, telephone number (504)

 227-8100.

        2.         Ron Austin and the law firm of Ron Austin & Associates, LLC have been

 retained by Plaintiffs to act as counsel in this matter. Ron Austin desires to be permitted to

 practice specially in this Court as counsel for Plaintiff in the above- styled cause.

        3.         Ron Austin is admitted to practice law in the State of Louisiana, admitted on

 October 6, 1995, the U.S. District Court for the Eastern, Middle, and Western District of

 Louisiana, admitted on September 18, 1996, August 14, 2006, and September 9, 2013. Ron

 Austin is currently licensed and in good standing to practice law in each jurisdiction to which

 he is admitted.
                                                                                                         Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
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        4.      Neither Ron Austin nor any member of the firm of Ron Austin & Associates,

 LLC, with which Ron Austin practices, is under suspension or disbarment by any Court to

 which Ron Austin is admitted.

        5.      Ron Austin is familiar with the Missouri Supreme Court Rules and will at all

 times abide by and comply with those rules as counsel herein.

        6.      Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave., Ste 1600,

 St. Louis, MO 63105, has agreed to act as associate counsel herein for Plaintiffs and to sponsor

 the motion for the pro hac vice admission of Ron Austin.

      WHEREFORE, Ryan Keane respectfully requests that this court permit Ron Austin to

 practice specially in this case as attorney of record for Plaintiff Tamia Banks, on behalf of

 herself and all others similarly situated, on behalf of herself and all others similarly situated and

 to participate in the trial, proceedings and hearings herein. A receipt for payment of pro hac

 vice fees is attached as Exhibit A. A proposed order is attached hereto as Exhibit B.



      Dated: April 9, 2018                              Respectfully submitted,

                                                        KEANE LAW LLC

                                                By:     /s/ Ryan Keane

                                                        Ryan A. Keane, # 62112
                                                        Alex Braitberg, # 67045
                                                        7777 Bonhomme Ave, Ste 1600
                                                        St. Louis, MO 63105
                                                        Ph: (314) 391-4700
                                                        Fx: (314) 244-3778
                                                        ryan@keanelawllc.com
                                                        alex@keanelawllc.com

                                                        JOHNSON GRAY, LLC
                                                        Anthony D. Gray, # 51534
                                                        319 North 4th Street, Suite 212
                                                        St. Louis, MO 63102
                                                        Phone: (314) 385- 9500
                                                        agray@johnsongraylaw.com

                                                        COOPER LAW FIRM, L.L.C
                                                        Barry J. Cooper, Jr., TX Bar # 24057527 pro
                                                        hac vice forthcoming
                                                        Celeste Brustowicz, LA Bar # 16835 pro
                                                        hac vice forthcoming
                                                        508 St. Phillip Street
                                                        New Orleans, LA 70116
                                                        Phone: (504) 566-1558
                                                        bcooper@sch-llc.com
                                                        cbrustowicz@sch-llc.com

                                                        and


                                                   2
                                                                                                      Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
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                                                        RON AUSTIN & ASSOCIATES, L.L.C.
                                                        Ron A. Austin, LA Bar # 23630 pro hac
                                                        vice forthcoming
                                                        Catherine Hilton, LA Bar # 27238 pro hac
                                                        vice forthcoming
                                                        Lillian Williams, LA Bar # 37358 pro hac
                                                        vice forthcoming
                                                        920 4th Street
                                                        Gretna, Louisiana 70053
                                                        Telephone: (504) 227-8100
                                                        Facsimile: (504) 227-8122
                                                        raustin@ronaustinandassociates.com
                                                        chilton@ronaustinandassociates.com

                                                        Attorneys for Plaintiffs and Proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 9, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.



                                                        /s/ Ryan Keane




                                                   3
                                                                                     Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
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                                                                                                  Electronically Filed - St Louis County - April 09, 2018 - 12:41 PM
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                        Cause No. 18SL-CC00617
                                 )
       vs.                       )                        Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                                           ORDER

        Before the Court is the Motion for Pro Hac Vice Admission of Ron Austin filed on behalf

 of Plaintiff Tamia Banks, on behalf of herself and all others similarly situated. Having

 considered the motion, the Court is of the opinion that the motion should be GRANTED. It is

 therefore ORDERED that Ron Austin is admitted pro hac vice in the above-styled matter.



 Signed the ______ day of ________________, 2018.




 __________________________________________
 Judge, Circuit Court of St. Louis County
                                                                                                      Electronically Filed - St Louis County - April 02, 2018 - 06:16 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                            Cause No. 18SL-CC00617
                                 )
       vs.                       )                            Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                               JURY TRIAL DEMANDED
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                       FIRST AMENDED CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her First Amended Class Action Petition and causes of action

 against Defendants Cotter Corporation, Commonwealth Edison Company, Exelon Corporation,

 Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St.

 Louis Airport Authority, a department of the City of St. Louis, states and alleges as follows:

        1.      Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of
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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.

        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to

 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout

 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis

 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns and resides on property in St.

 Ann, Missouri that Defendants contaminated. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek.




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 Her property, including the land and her home, is entirely within the Coldwater Creek flood plain,

 and is contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among

 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.

           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained

 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff

 for her damages, and provide further relief as set forth below in this Petition.

                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the

                    complained activities.

        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner

 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation

 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon

 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).

        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated

                    with the creation, storage, transportation, and processing of hazardous, toxic,

                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and

                    routinely avails itself of the protection of Missouri laws in St. Louis County

                    courts, and regularly appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information

 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to

 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,

 LLC.

                A. Exelon Generation regularly and routinely avails itself of the protection of

                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

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 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete

 cleanup of the contamination and to prevent and eliminate further contamination.

           29.     This action is maintainable as a class action and should be certified under Missouri

 Supreme Court Rule 52.08.

           30.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

                   All Missouri citizens who currently own real property with any portion within
                   the FEMA one hundred year flood plain of Coldwater Creek in St. Louis
                   County, Missouri, bounded by St. Charles Rock Road to the southwest and
                   Old Halls Ferry Road to the northeast, as shown in the map in Figure 1 below.




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     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                       Figure 1. Class Area




 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All Missouri citizens who currently reside, or have resided since 1973,
                 on a property with any portion within the FEMA one hundred year
                 flood plain of Coldwater Creek in St. Louis County, Missouri, bounded
                 by St. Charles Rock Road to the southwest and Old Halls Ferry Road
                 to the northeast, as shown in the map in Figure 1 above.


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        32.     Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge

 who may preside over this case. The requirements for maintaining this action as a class action are

 satisfied, as set forth immediately below.

        33.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of

                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

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 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 class; or (b) adjudications with respect to individual members of the class which would as a

 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

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        42.      All of the class members are citizens of Missouri.

        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical

                    processes that took place in facilities in St. Louis

                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive waster alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials



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 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other

 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes

 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        51.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the

 individual exposed. This can be damages to the skin, reproductive system, blood forming system,

 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such

 as cancers may take a number of years to appear.

         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area

          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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 contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”

        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri

 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site

 (“HISS”).

        62.     These waste residues, which contained valuable metals, were sold and shipped to

 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.




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        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.

        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were

 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

 cake, barium sulfate cake, and C-liner slag.

        71.     From 1953, the property was managed and operated by Mallinckrodt.

        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at



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 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.

        77.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of

 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek

        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

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 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.

        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.



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        87.      Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.      The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination

 spread in and by Coldwater Creek.

        89.      The radioactive contamination that has polluted the Banks Property and continues

 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

 for normal use and enjoyment, and destroys its fair market value.

        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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          95.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

          96.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a facility unfit to handle such wastes.

          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

 Property Damage Subclass (“Plaintiffs’ property”).

          99.    Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

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           105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.




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                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

        111.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        112.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.

        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        115.    The radioactive waste caused by Defendants results from permanent construction

 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of the property.

        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)

        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.


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        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.

        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE
                         (brought individually and on behalf of the Class)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers


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 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.




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        137.    Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

        138.      Defendants failed to act to prevent their releases from harming Plaintiffs.

        139.    Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

        140.    Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiff’s property.

        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

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           145.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                               COUNT V – NEGLIGENCE PER SE
                          (brought individually and on behalf of the Class)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

           147.   Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.




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        150.    Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

        151.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                 COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
                     (brought individually and on behalf of the Class)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.


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         158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         161.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and




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 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.


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         171.      Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.      Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiff and others similarly situated.

         173.      The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                                   COUNT IX – CIVIL CONSPIRACY
                          (brought individually and on behalf of the Class)

         174.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.      Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.

         176.      Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

         177.      As result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.




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                          COUNT X – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        179.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        180.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

        181.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        182.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        183.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        184.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.



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        185.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        186.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        187.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        188.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        189.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.

        190.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.


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        191.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        192.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        193.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        194.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        195.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiff and the Property Damage Subclass.

        196.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




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                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a

 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,

 as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity

                including a preliminary and/or permanent injunction enjoining Defendants from

                continuing the unlawful conduct as set forth herein and directing Defendants to

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                     identify, with Court supervision, members of the Class in order to compensate them

                     and to clean up all contamination, and including medical monitoring; and

                  g. for any further relief this Court deems just and proper.

                                                  Respectfully submitted,

                                                  KEANE LAW LLC

                                                   /s/ Ryan A. Keane

                                                  Ryan A. Keane, # 62112
                                                  Alex Braitberg, # 67045
Judge                    Division 2
                                                  7777 Bonhomme Ave., Ste. 1600
Judge                      Division 99
June 10, 2018
April    2015                                     St. Louis, MO 63105
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                                                  Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                                  forthcoming
                                                  Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                                  forthcoming
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                                                  and




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                                              RON AUSTIN & ASSOCIATES, L.L.C.
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                                              Phone: (504) 227-8100
                                              Fax: (504) 227-8122
                                              raustin@austin-associates.net

                                              Attorneys for Plaintiffs and proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 2, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Ryan A. Keane




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SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com
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SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
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            TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                               ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                          Cause No. 18SL-CC00617
                                 )
       vs.                       )                          Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                                             ORDER

          Before the Court is the Motion for Pro Hac Vice Admission of Catherine Hilton filed on

 behalf of Plaintiff Tamia Banks, on behalf of herself and all others similarly situated. Having

 considered the motion, the Court is of the opinion that the motion should be GRANTED. It is

 therefore ORDERED that Catherine Hilton is admitted pro hac vice in the above-styled matter.



 Signed the ______ day of ________________, 2018.




 __________________________________________
Judge                     Division 2
 Judge, Circuit Court of St. Louis County
Judge                       Division 99
June 12,
April 10, 2018
          2015
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             TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                ST. LOUIS COUNTY


  TAMIA BANKS, on behalf of herself and
                                  )
  all others similarly situated,  )
                                  )
        Plaintiff,                )                          Cause No. 18SL-CC00617
                                  )
        vs.                       )                          Division No. 2
                                  )
  COTTER CORPORATION,             )
  COMMONWEALTH EDISON COMPANY, )
  EXELON CORPORATION,             )
  EXELON GENERATION COMPANY, LLC, )
  DJR HOLDINGS, INC. f/k/a FUTURA )
  COATINGS, INC., and ST. LOUIS   )
  AIRPORT AUTHORITY, A            )
  DEPARTMENT OF THE CITY OF       )
  ST. LOUIS                       )
                                  )
        Defendants.               )

                                                 ORDER

           Before the Court is the Motion for Pro Hac Vice Admission of Ron Austin filed on behalf

  of Plaintiff Tamia Banks, on behalf of herself and all others similarly situated. Having

  considered the motion, the Court is of the opinion that the motion should be GRANTED. It is

  therefore ORDERED that Ron Austin is admitted pro hac vice in the above-styled matter.



  Signed the ______ day of ________________, 2018.




Judge                Division 2
  __________________________________________
  Judge,
Judge      Circuit Court of St.Division
                                Louis99 County
June 12,
April 10, 2018
          2015
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following parties:



SERVICE PARTY:RYAN A. KEANE, Attorney for Plaintiff
SERVICE EMAIL: ryan@keanelawllc.com



SERVICE PARTY:ALEXANDER L BRAITBERG, Attorney for Plaintiff
SERVICE EMAIL: alex@keanelawllc.com
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 TAMIA BANKS, on behalf of herself and all             Civil Action No.
 others similarly situated,
                                                       _______________________
                                                         4:18-cv-624
                              Plaintiff,

        v.

 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,                          NOTICE OF REMOVAL
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
 HOLDINGS, INC, AND ST. LOUIS AIRPORT
 AUTHORITY, A DEPARTMENT OF THE
 CITY OF ST. LOUIS,

                              Defendants.


        Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and any other applicable laws, defendant

 Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter Corporation), on its own

 behalf and on behalf of named defendants, Commonwealth Edison Company (“ComEd”),

 Exelon Corporation (“Exelon”), Exelon Generation Company, LLC (“Exelon Generation”), DJR

 Holdings, Inc. (“DJR”), and the St. Louis Airport Authority (“Airport Authority”) (collectively,

 “Defendants”), hereby give notice of removal of this action to the United States District Court

 for the Eastern District of Missouri. Copies of the Defendants’ respective Consents to Removal

 are appended hereto as Exhibit B. As grounds for removal, Cotter states as follows:

                                       INTRODUCTION

        1.     On or about February 21, 2018, Tamia Banks (“Plaintiff”), on behalf of herself

 and two allegedly similarly situated proposed classes of individuals, filed a complaint (the

 “Complaint”) in the Circuit Court of St. Louis County, Missouri, Twenty First Judicial Circuit,
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 thereby commencing the action styled, Tamia Banks v. Cotter Corporation, et al., Case No.

 18SL-CC00617. On April 2, 2018, Plaintiff filed her First Amended Complaint (“FAC”) a copy

 of which, together with all materials filed in connection with this matter, is attached hereto as

 Exhibit A.

        2.      Plaintiff alleges that, as a result of the Defendants’ collective conduct over the

 span of several decades, radioactive materials were released into the environment in and around

 Coldwater Creek, a tributary of the Missouri River that runs throughout North St. Louis County,

 resulting in the radioactive contamination of Plaintiff’s and class members’ property and leading

 to various forms of property damage. See generally, FAC ¶¶ 2, 27-92.

        3.      Plaintiff asserts state-law based claims against the Defendants for: (1) trespass;

 (2) permanent nuisance; (3) temporary nuisance; (4) negligence; (5) negligence per se; (6) strict

 liability/absolute liability; (7) injunctive relief seeking medical monitoring; (8) punitive

 damages; and (9) civil conspiracy; and against the Airport Authority only for (10) inverse

 condemnation; (11) violation of the Missouri State Constitution’s due process guarantee; and

 (12) violation of the Missouri State Constitution’s takings and just compensation clause. See

 generally, id. at ¶¶ 93-196.

        4.      As a result of the Defendants’ alleged conduct, Plaintiff contends that she is

 entitled to monetary recovery stemming from: the loss of use and enjoyment of her property;

 annoyance and discomfort; damage to her personal property; diminution in the market value of

 her property; costs and expenses incurred as a result of Plaintiff’s exposure to radioactive

 emissions, including the cost of remediation and relocation; statutory damages under Missouri

 state law; punitive and exemplary damages; costs and attorneys’ fees; and interest on the above

 amounts. See id. at pp. 38-39. Additionally, Plaintiff seeks injunctive relief in the form of



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 medical and scientific monitoring of her home and property, as well as environmental testing,

 clean-up, and continued medical testing. See id. at ¶¶ 162-169.

                                             PARTIES

        5.      Plaintiff is a Missouri citizen who owns and resides upon real property located at

 4501 Ashby Road, St. Ann, Missouri, consisting of approximately 0.23 acres of land allegedly

 situated adjacent to Coldwater Creek. See id. at ¶ 18.

        6.      Plaintiff alleges that Cotter, ComEd, Exelon, and Exelon Generation are

 responsible for the radioactive contamination of Plaintiff’s and the proposed class members’

 property, stemming from Cotter’s handling, storage and disposal of radioactive materials

 generated from certain operations in St. Louis. See generally, id. at ¶¶ 20-24, 63-66.

        7.      Plaintiff maintains that DJR was the owner of allegedly radioactively

 contaminated real property near Coldwater Creek, and that DJR “did nothing to prevent

 continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes, including

 into Coldwater Creek.” See id. at ¶¶ 25, 75-77.

        8.      Plaintiff contends that the Airport Authority was the owner of allegedly

 radioactively contaminated real property near Coldwater Creek and “did nothing to prevent

 continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes, including

 into Coldwater Creek.” See id. at ¶¶ 26, 69-74.

                                  FACTUAL BACKGROUND

        9.      According to the Complaint, from 1942 to 1957, uranium ore was processed at a

 downtown St. Louis City Site (“SLDS”) in connection with the United States’ efforts under the

 Manhattan Project to develop the first nuclear weapons. See id. at ¶¶ 56-57.

        10.     In the late 1940s, the United States government purchased a 21.7-acre tract of



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 land near the Lambert Airport to store materials generated from processing activities at SLDS.

 See id. at ¶ 58. This site is commonly referred to as the St. Louis Airport Site (“SLAPS”). Id.

        11.     Thereafter, various radioactive materials resulting from operations at SLDS were

 stored at SLAPS, and in 1957, radioactively impacted materials were buried on a portion of

 SLAPS adjacent to Coldwater Creek. See id. at ¶¶ 59-60.

        12.     Plaintiff further contends that in the 1960s, some radioactive materials that had

 been stored at SLAPS were moved to a storage site at Latty Avenue in Hazelwood, Missouri (the

 “Latty Avenue Site”), including a portion of the Latty Avenue Site that later became known as

 the Hazelwood Interim Storage Site (“HISS”). See id. at ¶ 61.

        13.     In the late 1960s, Cotter allegedly purchased some of the radioactive materials

 (including “enriched thorium”) stored at SLAPS and the Latty Avenue Site from the United

 States government, which same materials Cotter allegedly stored, processed, and transported at

 and to SLAPS and the Latty Avenue Site. See id. at ¶¶ 63-66.

        14.     According to Plaintiff, various transport and handling activities to and from

 SLDS, SLAPS, the Latty Avenue Site, and HISS contaminated “haul routes to nearby

 properties.”   See id. at ¶ 68. Furthermore, Plaintiff alleges that storage operations at both

 SLAPS and the Latty Avenue Site resulting in the dispersal and runoff of radioactive materials

 into Coldwater Creek. See id. at ¶¶ 69-77.

        15.     As a result Defendants’ conduct, Plaintiffs claim, “[s]ince 1946, radioactive

 wastes have migrated from the SLAPS, HISS, and Latty Avenue Site(s) into Coldwater Creek

 and were released or otherwise deposited along the entire . . . one hundred year flood plain of

 Coldwater Creek.” See id. at ¶¶ 78-85.

        16.     Plaintiff contends that her property is within the one hundred year flood plain of



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 Coldwater Creek, that there is radioactive contamination present on their property, that this

 contamination is linked to radioactive materials “generated in the processing of uranium ores in

 the St. Louis area,” and is the result of Defendants’ actions. See id. at ¶¶ 86-90.

        17.     According to Plaintiff, this has resulted in damage to her property, necessitating,

 among other things, “a total and complete cleanup of the contamination . . . to prevent and

 eliminate further contamination.” See id. at ¶¶ 91-2

                       FEDERAL QUESTION JURISDICTION EXISTS

 I.     Federal Question Jurisdiction

        18.     Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over this action because

 it “arises under” federal law, in particular, the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et

 seq., which preempts all of Plaintiff’s state-law causes of action. Given the complete preemption

 of Plaintiff’s state-law claims, the Court has federal question jurisdiction over this action.

        19.     “Ordinarily, determining whether a particular case arises under federal law turns

 on the well-pleaded complaint rule,” which provides that:

        whether a case is one arising under the Constitution or law or treaty of the United
        States, in the sense of the jurisdictional statute[,] . . . must be determined from
        what necessarily appears in the plaintiff’s statement of his own claim in the bill or
        declaration, unaided by anything alleged in anticipation of avoidance of defenses
        which it is thought the defendant may interpose.

 Aetna Health Inc. v. Davila, 542 U.S. 200, 207 (2004) (internal quotations marks omitted).

        20.     Under the complete pre-emption doctrine, while “a defendant may not [generally]

 remove a case to federal court unless the plaintiff’s complaint establishes that the case arises

 under federal law,” the Supreme Court has recognized that a “state claim may be removed” if “a

 federal statute wholly displaces the state-law cause of action through complete pre-emption.” Id.

 (alteration in original); see Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 8 (2003). “This is so

 because ‘[w]hen the federal statute completely pre-empts the state-law cause of action, a claim
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 which comes within the scope of that cause of action, even if pleaded in terms of state law, is in

 reality based on federal law.’” Davila, 542 U.S. at 207-08 (quoting Anderson, 539 U.S. at 8).

        21.     Further, pursuant to the artful pleading doctrine, a federal court will have

 jurisdiction if a plaintiff has carefully drafted the complaint so as to avoid naming a federal

 statute as a basis for the claim, and the claim is in fact based on a federal statute. See Franchise

 Tax Bd. v. Constr. Laborers, 463 U.S. 1, 22 (1983) (“A plaintiff may not avoid federal

 jurisdiction by omitting from the complaint federal law essential to his or her claim or by casting

 in state terms a claim that can be made only under federal law.”).

        22.     The artful pleading doctrine permits courts to “delve beyond the face of the state

 court complaint and find federal question jurisdiction” by “recharacteriz[ing] a plaintiff’s state-

 law claim as a federal claim.” Precision Pay Phones v. Qwest Comms. Corp., 210 F. Supp. 2d

 1106, 1112-13 (N.D. Cal. 2002) (citing Hunter v. United Van Lines, 746 F.2d 635, 640 (9th Cir.

 1985)); see also State ex rel. Nixon v. Coeur D’Alene Tribe, 164 F.3d 1102, 1109 n. 4 (8th Cir.

 1999) (under the artful pleading doctrine, federal courts have subject matter jurisdiction over

 purported state law claims if a plaintiff failed to plead a federal right or immunity that is an

 essential element of cause of action); Missouri v. Webb, No. 4:11CV1237, 2012 WL 1033414, at

 *3 (E.D. Mo. Mar. 27, 2012) (observing that “[u]nder the ‘artful pleading’ doctrine . . . a plaintiff

 may not defeat removal by failing to plead federal questions that are essential elements of the

 plaintiff’s claim,” and stating that “[o]nce an area of state law has been completely pre-empted

 by the operation of a federal statute, any claim purportedly based on that pre-empted state law is

 considered, from its inception, a federal claim, and therefore arises under federal law”).

 II.    The PAA Provides an Exclusive, Retroactive Federal Cause of Action that
        Completely Preempts Plaintiff’s State-Law Claims

        23.     Plaintiff’s state-law claims alleging various forms of property damage, seeking


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 injunctive relief, medical monitoring and punitive damages and, as to the Airport Authority only,

 claims for inverse condemnation and violations of the Missouri State Constitution, are

 completely preempted by the PAA.

        A.      Federal Preemption Under the PAA

        24.     In 1988, Congress amended the PAA to create a federal “public liability” cause of

 action for injuries to persons and property arising out of or resulting from any “nuclear incident.”

 See 42 U.S.C. §§ 2014(hh), 2014(w); Pub. L. No. 100-408 § 20 (b)(1), 102 Stat. 1084.

        25.     A public liability action under the PAA is the exclusive, retroactive federal cause

 of action governing liability for injuries arising out of nuclear incidents. See Pub. L. No. 100-

 408 § 20(b)(1), 102 Stat. 1084 (“The amendments governing judicial review of claims arising out

 of a [nuclear incident] shall apply to incidents occurring before, on, or after the date of the

 enactment of this Act.”); O’Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1099-1100 (7th

 Cir. 1994) (holding that under the PAA “a state cause of action is not merely transferred to

 federal court; instead, a new federal cause of action supplants the prior state cause of action.”).

        26.     Further, the PAA provides that:

        With respect to any public liability action arising out of or resulting from a
        nuclear incident, the United States district court in the district where the nuclear
        incident takes place, or in the case of a nuclear incident taking place outside the
        United States, the United States District Court for the District of Columbia, shall
        have original jurisdiction without regard to the citizenship of any party or the
        amount in controversy. Upon motion of the defendant or of the Commission or
        the Secretary, as appropriate, any such action pending in any State court
        (including any such action pending on August 20, 1988) or United States district
        court shall be removed or transferred to the United States district court having
        venue under this subsection.

 42 U.S.C. § 2210(n)(2).

        27.     Given the expansive nature of the PAA, virtually every circuit court to address the

 issue has concluded that “the Price-Anderson Act completely preempts state law causes of action


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 for public liability arising out of or resulting from a nuclear incident.” Adkins v. Chevron Corp.,

 960 F. Supp. 2d 761, 767-68 (E.D. Tenn. 2012) (observing that the Third, Seventh, Ninth, Tenth

 and Eleventh Circuits are in agreement with the Sixth Circuit’s conclusion that the PAA

 completely preempts state law causes of action); see also In re Berg Litig., 293 F.3d 1127, 1132

 (9th Cir. 2002) (observing that a PAA public liability action is plaintiff's “exclusive means” for

 pursuing claims arising from a nuclear incident); Roberts v. Florida Power & Light Co., 146

 F.3d 1305, 1306 (11th Cir. 1998) (“Congress passed the Price–Anderson Amendments Act of

 1988 . . . creating an exclusive federal cause of action for radiation injury.”); Kerr–McGee Corp.

 v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997) (observing that the PAA’s provisions “appear

 broad enough to create a federal forum for any tort claim even remotely involving atomic energy

 production. The PAA on its face provides the sole remedy for the torts alleged . . .”); O’Conner,

 13 F.3d at 1100, 1105 (stating that “a new federal cause of action supplants the prior state cause

 of action . . . . [S]tate regulation of nuclear safety, through either legislation or negligence

 actions, is preempted by federal law.”); In re TMI Litig. Cases Consol. II, 940 F.2d 832, 854 (3d

 Cir. 1991) (“After the Amendments Act, no state cause of action based upon public liability

 exists. A claim growing out of any nuclear incident is compensable under the terms of the

 Amendments Act or it is not compensable at all.”); McClurg v. MI Holdings, Inc., 933 F. Supp.

 2d 1179, 1186 (E.D. Mo. 2013).

        28.     Although in Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1996-99 (10th Circuit

 2015), the Tenth Circuit found that in specific, limited circumstances not at issue here, a

 plaintiff’s state-law causes of action arising from “lesser nuclear occurrences” might not be

 preempted by the PAA, the overwhelming majority of courts to address the issue have concluded

 that the PAA preempts any state-law causes of action arising from or related to nuclear incidents



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 and radiation injuries. In the instant case, the factual allegations in Plaintiff’s complaint amount

 to a putative claim for public liability arising from a nuclear incident. Whether that claim has

 been adequately pleaded is not the topic of this application, and Defendants reserve their right to

 challenge the adequacy of Plaintiff’s claims.

        29.     As observed by the Seventh Circuit, the 1988 amendments “‘create[d] a federal

 cause of action which did not exist prior to the Act, establishe[d] federal jurisdiction for that

 cause of action, and channel[ed] all legal liability to federal courts through the cause of action.’”

 O’Conner, 13 F.3d at 1101 (quoting In re TMI Litig., 940 F.2d at 856-57); see also 42 U.S.C. §

 2210(n)(2) (“With respect to any public liability action arising out of or resulting from a nuclear

 incident, the United States district court in the district where the nuclear incident takes place . . .

 shall have original jurisdiction without regard to the citizenship of any party or the amount in

 controversy.”). Indeed, “‘[b]y creating this federal program which requires the application of

 federal law, Congress sought to effect uniformity, equity and efficiency in the disposition of

 public liability claims,’” and “‘[w]ith the federal jurisdiction and removal provisions set forth in

 the [1988 amendments], Congress ensured that all claims resulting from a given nuclear incident

 would be governed by the same law, provided for the coordination of all phases of litigation and

 the orderly distribution of funds.’” O’Conner, 13 F.3d at 1101 (quoting In re TMI Litig., 940

 F.2d at 856-57). This is so because the complex federal scheme envisioned by the PAA included

 “pervasive federal regulation” that “occupied the entire field of nuclear safety concerns.” In re

 TMI Litig., 940 F.2d at 858.

        30.     In sum, “the field of nuclear safety has been occupied by federal regulation; there

 is no room for state law.” O’Conner, 13 F.3d at 1105.

        B.      Plaintiff Alleges Injuries and Harms that Constitute a Nuclear Incident and,
                Therefore, Her State-Law Causes of Action Are Preempted by the PAA

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        31.     The allegations in Plaintiff’s Complaint asserting claims for injuries, damages and

 relief that arise from a “nuclear incident” as defined by the PAA. Pursuant to the PAA, a

 “nuclear incident” is broadly defined as “any occurrence . . . within the United States causing . . .

 bodily injury, sickness, disease, or death, or loss of or damage to property, or loss of use of

 property, arising out of or resulting from the radioactive, toxic, explosive, or other hazardous

 property of source, special nuclear, or byproduct material.” 42 U.S.C. § 2014(q).

        32.     As a result, the PAA is “broad enough to create a federal forum for any tort

 claims even remotely involving atomic energy production. The [PAA] on its face provides the

 sole remedy for the torts alleged.” Farley, 115 F.3d at 1504.

        33.     Here, Plaintiff’s claims stem from a nuclear incident, given that the entire basis

 for Plaintiff’s Complaint, and the state-law causes of action therein, is their contention that

 Plaintiff’s property “is contaminated by radioactive material,” that these materials match the

 “fingerprint” of radioactive materials generated from uranium ore processing activities in the St.

 Louis area, and that “[t]his contamination was caused by . . . Defendants’ improper handling,

 storage, and disposal of radioactive materials.” See FAC, ¶¶ 89-90.

        34.     Specifically, Plaintiff claims allegedly arise from the processing of certain nuclear

 materials in connection with the Manhattan Project. See id. at ¶ 56.

        35.     Plaintiff maintains that, after the Manhattan Project acquired SLAPS in the late

 1940s, radioactive materials were stored at SLAPS, including pitchblende raffinate residues,

 radium-bearing residues, barium sulfate cake, Colorado raffinate residues, radioactively

 contaminated scrap metal, contaminated vehicles, and “miscellaneous radioactive wastes,” and

 that in the 1960s, some radioactive materials were shipped from SLAPS to the Latty Avenue Site

 and HISS, resulting in the radioactive contamination of those sites. See id. at ¶¶ 58-61.



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        36.     According to Plaintiff, Cotter purchased the radioactive materials stored at both

 SLAPS and the Latty Avenue Site, and between 1969 and 1973, conducted various activities in

 connection with those materials. See id. at ¶¶ 63-68.

        37.     In 1973, the Airport Authority acquired SLAPS, which had previously been

 managed by “Mallinckrodt” since 1953. See id. at ¶¶ 71, 73. According to Plaintiff, “[d]espite

 knowing that significant activities involving radioactive material were conducted on [SLAPS],

 the [Airport Authority] . . . did nothing to prevent continued dispersal and runoff” of radioactive

 materials, “including into Coldwater Creek.” See id. at ¶ 74.

        38.     Plaintiff also alleges that, at some undisclosed point in time, DJR purchased the

 Latty Avenue Site, and that “[d]espite knowing that significant activities involving radioactive

 material were conduct on the site, [DJR] did nothing to prevent continued dispersal and runoff”

 of radioactive materials, “including into Coldwater Creek.” See id. at ¶¶ 76-77.

        39.     Plaintiff claims that since 1946, radioactive materials have “migrated from

 SLAPS, HISS, and the Latty Avenue Site(s) into Coldwater Creek,” that these materials “were

 released or otherwise deposited along the entire FEMA one hundred year flood plain of

 Coldwater Creek,” that the “entire one hundred year floodplain of Coldwater Creek is believed to

 be contaminated” with radioactive materials, that Plaintiffs’ home, which is within Coldwater

 Creeks flood plain, “is contaminated by radioactive material,” and that “[t]his radioactive

 contamination was caused by…Defendants’ improper handling, storage, and disposal of

 radioactive materials.” See id. at ¶¶ 82, 85-87, 90.

        40.     In short, the factual allegations undergirding Plaintiff’s purported injuries all

 relate to the Defendants’ conduct in connection with nuclear and radioactive materials. As a

 result, Plaintiff’s claims arise out of an alleged nuclear incident and, pursuant to the PAA, a



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 public liability action is the “exclusive federal cause of action” for Plaintiff’s alleged “radiation

 injur[ies],” Roberts, 146 F.3d at 1306.

        41.     Given that Plaintiff’s injuries arise from an alleged nuclear incident, liability in

 this matter is therefore governed by the PAA. Accordingly, removal to federal court on the basis

 of federal question jurisdiction is appropriate because the PAA completely preempts Plaintiff’s

 state-law causes of action, and Plaintiff’s claim for radiation injuries, although pleaded in terms

 of state law, are “in reality based on federal law,” Davila, 542 U.S. at 207-08.

        C.      Notwithstanding Plaintiff’s Artful Pleading, Plaintiff Alleges Claims that Fall
                Squarely Within the Ambit of the PAA

        42.     Despite Plaintiff’s attempt to artfully plead around the PAA, see FAC ¶¶ 13-17,

 the Complaint alleges facts that give rise to claims for public liability under the PAA and, as a

 result, her state-law based claims are preempted by the PAA and this Court has jurisdiction.

        43.     Specifically, Plaintiff maintains that she does “not allege any causes of

 actions[sic] arising under any law of the United States,” and that her “claims do not fall within

 the scope of the [PAA],” because neither Coldwater Creek nor the Defendants’ alleged conduct

 giving rise to her claims were subject to “a license,” and because Defendants “have never entered

 into an indemnification agreement with the United States” under the PAA “with respect to the

 complained activities.” See id. at ¶¶ 13-14.

        44.     However, “[t]he plain language of the statute indicates that the possession of a

 license for radioactive material is unrelated to the jurisdiction issue. None of the statutory

 definitions limit the jurisdiction over nuclear claims to licensed activity.” Contromano v. United

 Techs. Corp., 7 F. Supp. 3d 1253, 1257 (S.D. Fla. 2014).

        45.     Indeed, given Congress’ goal “to expand the scope of federal jurisdiction”

 through the 1988 amendments to PAA, courts have generally rejected efforts by plaintiffs to

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 reduce the scope of federal jurisdiction. See, e.g., Acuna v. Brown & Root Inc., 200 F.3d 335,

 339 (5th Cir. 2000) (rejecting attempt to limit PAA jurisdiction to indemnitees); Carey v. Kerr-

 McGee Chem. Corp., 60 F. Supp. 2d 800,804-06 (N.D. Ill. 1999) (rejecting attempt to limit PAA

 jurisdiction and recognizing that “nuclear incident” was intentionally defined broadly to avoid a

 situation where defendants were left without a federal forum and were forced to defend against

 lawsuits “in various jurisdictions under various state laws”).

        46.     As such, Plaintiff’s conclusory allegations concerning the non-federal nature of

 her claims against Defendants as well as her suggestion that a lack of licensure or

 indemnification are fatal of this Court’s jurisdiction lack merit and do not bar this Court from

 assuming jurisdiction over the instant case.

       ALL OTHER PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED

 I.     Notice of Removal Is Timely

        47.     Plaintiff filed her Complaint on or about February 21, 2018 and her request for

 leave to file the FAC on April 2, 2018, which the Circuit Court granted on April 10, 2018.

        48.     Defendants Cotter, ComEd, Exelon, and Exelon Generation were served with the

 Summons and Complaint on March 19, 2018.

        49.     Defendants Airport Authority and DJR were served on April 2, 2018 and March

 28, 2018, respectively. This Notice of Removal is timely because it is filed within thirty (30)

 days of service of the Complaint upon Cotter, ComEd, Exelon, and Exelon Generation, and

 within one year of the commencement of this action. No previous request has been made for the

 relief requested in this Notice.

 II.    Removal to this Judicial District Is Proper, and Defendants Have Complied With
        All Procedural Requirements for Removal

        50.     Pursuant to 28 U.S.C. §§ 1441(a) and 1446(a), the Eastern Division of the United


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 States District Court for the Eastern District of Missouri is the proper venue to which to remove

 this matter because the Circuit Court for St. Louis County, Missouri, is located within the

 Eastern Division of this judicial district. See Local Rule 3-2.07(A)(1) (“The Eastern Division

 comprises the counties of . . . Saint Louis, and the City of Saint Louis”).

        51.     Venue is also proper pursuant to Local Rule 3-2.07(B)(3) because the lawsuit is a

 civil action brought against multiple defendants, some of which are non-residents, and the claims

 for relief arose in St. Louis County, Missouri.

        52.     As required by 28 U.S.C. § 1446(a) and Local Rule 81-2.03, true and correct

 copies of all pleadings on file with the Circuit Court of St. Louis County to date are attached

 hereto as Exhibit A. Cotter is unaware of the existence of any additional process, pleadings, or

 orders other than those included in the exhibits attached hereto. There are no motions pending

 before the Circuit Court of St. Louis County, Missouri in connection with this matter, nor are

 there any hearings or conferences presently scheduled.

        53.     Pursuant to Local Rules 3-2.03 and 3-2.09, attached hereto are the Civil Cover

 Sheet and the Original Filing Form. Disclosure of Organizational Interests Certificates will be

 separately filed by the individual Defendants.

        54.     Written notice of the filing of this Notice of Removal will be promptly served on

 Plaintiff’s counsel, and a copy has been filed with the Clerk of the Circuit Court of St. Louis

 County. Defendants’ Notice to Clerk of Filing Notice of Removal will also be promptly filed

 with the Clerk of the Circuit Court of St. Louis County.

        55.     This matter is related to a number of similar lawsuits under lead docket McClurg

 v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF (E.D. Mo.) (filed February 28, 2012), and

 currently assigned to Honorable Audrey G. Fleissig, U.S.D.J. In those lawsuits (which are



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 currently in the expert discovery phase), the plaintiffs seek damages under the PAA for injuries

 sustained as a result of alleged exposure to radioactive materials handled by Mallinckrodt, LLC’s

 predecessors in interest and Cotter in St. Louis County.             The alleged exposures and

 contamination in all of the cases consolidated in the McClurg action are similarly focused on

 radioactive exposure in St. Louis County at Coldwater Creek as well as SLAPS, the Latty

 Avenue Site, HISS, and other properties, and are premised on PAA public liability.

        56.     This matter is also related to the action Dailey v. Bridgeton Landfill, LLC, et al.,

 No. 4:12-CV-00024-CDP (E.D. Mo.) (removed January 2, 2017). In Dailey, the plaintiffs

 alleged that, as a result of the defendants’ collective conduct over the span of several decades,

 radioactive materials involved in and related to the Manhattan Project’s operations in downtown

 St. Louis were released into the environment in and around the Bridgeton and West Lake

 Landfills located in Bridgeton, Missouri, contaminating the plaintiffs’ property with radioactive

 materials and causing various forms of property damage. Following removal to federal court, the

 plaintiffs in Dailey amended their complaint to include claims against the defendants pursuant to

 the PAA. After the defendants moved to dismiss the Dailey plaintiffs’ amended complaint, the

 Court dismissed all of the plaintiffs’ state-law based causes of action, which were nearly

 identical to the ones Plaintiff asserts here, as preempted by the PAA.

        57.     Defendants hereby reserve their rights to assert any and all defenses to Plaintiff’s

 Complaint and to amend or supplement this Notice of Removal.

        58.     Defendants have not answered the Complaint in state court.

        59.     Defendants ComEd, Exelon, Exelon Generation, DJR and the Airport Authority

 are actively participating in, and consent to the removal of, this matter and Cotter’s filing of this

 Notice of Removal.



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                                         CONCLUSION

        WHEREFORE, in light of the foregoing, Defendant Cotter, along with Defendants

 ComEd, Exelon, Exelon Generation, DJR and the Airport Authority, respectfully remove this

 action now pending in the Circuit Court of St. Louis County, State of Missouri, to this Court.

                                              Respectfully submitted,

                                              /s/ Erin L. Brooks

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                                              Erin L. Brooks, Mo. Bar 62764
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                                              COTTER CORPORATION (N.S.L.),
                                              COMMONWEALTH EDISON COMPANY,
                                              EXELON CORPORATION, and
                                              EXELON GENERATION COMPANY, LLC




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Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



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                   IN THE CIRCUIT COURT OF SAINT LOUIS COUNTY
                                STATE OF MISSOURI

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,                              Cause No. 18SL-CC00617

 Plaintiff,                                              JURY TRIAL DEMANDED

 v.

 COTTER                 CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON       CORPORATION,    EXELON
 GENERATION      COMPANY,  LLC,   DJR
 HOLDINGS, INC, AND ST. LOUIS AIRPORT
 AUTHORITY, A DEPARTMENT OF THE
 CITY OF ST. LOUIS,

                               Defendants.

                       NOTICE OF REMOVAL TO FEDERAL COURT

         PLEASE TAKE NOTICE THAT Defendant Cotter Corporation (N.S.L), improperly

 named as Cotter Corporation, with the consent of Defendants Commonwealth Edison Company,

 Exelon Corporation, DJR Holdings, Inc., and St. Louis Airport Authority, through undersigned

 counsel, hereby certify that April 18, 2018, it caused to be filed a Notice of Removal of this

 action in the United States District Court for the Eastern District of Missouri on April 18, 2018.

         A copy of the said Notice of Removal is attached hereto as Exhibit 1.
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                                              Respectfully submitted,

                                              BRYAN CAVE LLP

          Dated: April 18, 2018               /s/ Erin L. Brooks_____________

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                                              (609) 919-6701 (facsimile)

                                              ATTORNEYS FOR DEFENDANTS
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                                              COMMONWEALTH EDISON COMPANY,
                                              EXELON CORPORATION, and EXELON
                                              GENERATION COMPANY, LLC

                                    CERTIFICATE OF SERVICE

        I hereby certify that on April 18, 2018, the foregoing was electronically filed, which will
 provide notice to all counsel of record, and a copy sent via FedEx to:


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 Alex Braitberg, # 67045
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 Attorneys for Plaintiffs and proposed Class

                                                   /s/ Erin L. Brooks_________________




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                        21st JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                        ST. LOUIS COUNTY

 TAMIA BANKS,                                 )
 and others similarly situated                )
                                              )
        Plaintiff,                            )       Cause No. 18SL-CC00617
                                              )
 v.                                           )       Division 2
                                              )
 COTTER CORPORATION,                          )
 COMMONWEALTH EDISON COMPANY,                 )
 EXELON CORPORATION, EXELON                   )
 GENERATION COMPANY, LLC,                     )
 DJR HOLDINGS, INC, AND ST. LOUIS             )
 AIRPORT AUTHORITY, A DEPARTMENT OF           )
 THE CITY OF ST. LOUIS,                       )
                                              )
        Defendants.                           )

                                      ENTRY OF APPEARANCE
                                        DJR Holdings, Inc.

        Comes Now, S. Martin Jansky of the Martin Jansky Law Firm, PC and enters his

 appearance on behalf of Defendant, DJR Holdings, Inc., and reconfirms its prior consent to

 removal of this matter to the United States District Court for the Eastern District of Missouri.


                                                      MARTIN JANSKY LAW FIRM, PC

                                                      /s/ S. Martin Jansky
                                              By:     __________________________________
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                                                      For Defendant DJR Holdings, Inc.
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                                         Certificate of Service
         On the date below, I certify that I electronically filed the foregoing with the Clerk of
 Court via the electronic filing service of the above jurisdiction, which provides notice and access
 of same to counsel/parties of record per local Rules, and/or by service through one or more of
 the following delivery systems indicated: _X_ email, ___ courier, ___ US Mail 1st Class prepaid:

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 &
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                                            Dated: April 24, 2018     by: /s/ S. Martin Jansky
                                                                                               Electronically Filed - St Louis County - April 03, 2019 - 09:55 AM
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following parties:



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                                                                                                         Electronically Filed - St Louis County - April 03, 2019 - 09:55 AM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                              Cause No. 18SL-CC00617
                                 )
       vs.                       )                              Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                                      NOTICE OF REMAND

      Plaintiff Tamia Banks, individually and on behalf of all others similarly situated, and

 through her undersigned counsel, hereby respectfully notifies this honorable Court that on March

 29, 2019, the United States District Court for the Eastern District of Missouri has entered its order

 remanding this matter to the Circuit Court of St. Louis County under 28 U.S.C. § 1447(c). See

 Banks v. Cotter Corporation et al., No. 4:18 CV 624, Docket No. 75, Memorandum and Order

 (Mar. 29, 2019). Plaintiff attaches a copy of said Order as Exhibit 1.

 Dated: April 3, 2019                                   Respectfully submitted,

                                                        KEANE LAW LLC

                                                        /s/ Nathaniel R. Carroll
                                                        Ryan A. Keane, # 62112
                                                        Alex Braitberg, # 67045
                                                        7777 Bonhomme Ave, Ste 1600
                                                        St. Louis, MO 63105
                                                        Ph: (314) 391-4700
                                                        Fx: (314) 244-3778
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                                                        nathaniel@keanelawllc.com
                                                        Attorneys for Plaintiffs and Proposed Class

                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 3, 2019, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic filing system, which will provide
 electronic notice to all parties and attorneys of record.

                                                        /s/ Nathaniel R. Carroll
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 TAMIA BANKS, on behalf of herself and       )
 all others similarly situated,              )
                                             )
               Plaintiff,                    )
                                             )
 v.                                          )              No. 4:18-CV-00624 JAR
                                             )
 COTTER CORPORATION, et al.,                 )
                                             )
               Defendants.                   )

                               MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiffs’ Motion To Remand. (Doc. No. 38).

 Defendants Cotter Corporation (N.S.L.) (“Cotter”), Commonwealth Edison Company

 (“ComEd”), and Exelon Corporation and Exelon Generation Company, LLC (collectively

 “Exelon”) responded. (Doc. No. 52). Defendants DJR Holdings, Inc. (“DJR”), f/k/a Futura

 Coatings, Inc., and St. Louis Airport Authority (“Airport Authority”) joined in the brief in

 opposition to Plaintiff’s motion filed by Cotter, ComEd and Exelon. (Doc. No. 53). Plaintiff

 replied (Doc. No. 59) and Defendants, with leave of Court, filed a surreply in further opposition

 to remand (Doc. No. 65). The Court held a hearing and heard oral argument on the motion to

 remand. The motion is now ready for disposition.

        I.     Background

        From 1942 to 1957, uranium ore was processed in association with the Manhattan Project

 to develop nuclear weapons in a facility in downtown St. Louis City known as the St. Louis

 Downtown Site (“SLDS”). (First Amended Class Action Petition (“FAP”), Doc. No. 6, at ¶¶ 56,

 57). In the late 1940’s, the Manhattan Project acquired a tract of land near Lambert Airport



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 known as the St. Louis Airport Site (“SLAPS”) to store radioactive waste from the uranium

 processing operations at SLDS. (Id. at ¶¶ 58, 79). In 1957, “approximately sixty truckloads of

 contaminated scrap metal, several contaminated vehicles, in addition to miscellaneous

 radioactive wastes were buried on the western portion of SLAPS adjacent to Coldwater Creek,” a

 tributary of the Missouri River which runs throughout North St. Louis County (Id. at ¶¶ 2, 60).

 In the 1960’s, some of the radioactive waste that had been stored at SLAPS was moved to a

 storage site on Latty Avenue in Hazelwood, Missouri (the “Latty Avenue Site”), a part of which

 later became the Hazelwood Interim Storage Site (“HISS”). (Id. at ¶¶ 61, 75). In the late 1960’s,

 Cotter purchased the radioactive waste stored at both SLAPS and the Latty Avenue Site. (Id. at

 ¶¶ 63, 81). Between 1969 and 1973, Cotter stored, processed and transported radioactive waste at

 the SLAPS and Latty Avenue sites. (Id. at ¶ 66). In 1973, SLAPS was sold to the Airport

 Authority. (Id. at ¶ 73). The Latty Avenue Site was sold to Futura Coatings, n/k/a DJR. (Id. at ¶

 76).

        Plaintiff Tamia Banks owns property located within the one hundred year flood plain of

 Coldwater Creek. (Id. at ¶ 8). On April 2, 2018, Plaintiff filed her amended class action petition

 in the Circuit Court of St. Louis County, Missouri. She alleges that, as a result of the Defendants’

 collective conduct over several decades, radioactive wastes were released into the environment

 in and around Coldwater Creek, resulting in the contamination of her home and property, as well

 as the property of other class members, and leading to various forms of property damage.

        Plaintiff asserts state-law claims against Cotter, ComEd, Exelon, DJR, and the Airport

 Authority for: (1) trespass; (2) permanent nuisance; (3) temporary nuisance; (4) negligence; (5)

 negligence per se; (6) strict liability/absolute liability; (7) injunctive relief seeking medical

 monitoring; (8) punitive damages; and (9) civil conspiracy; and against the Airport Authority



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 only for (10) inverse condemnation; (11) violation of the Missouri State Constitution’s due

 process guarantee; and (12) violation of the Missouri State Constitution’s takings and just

 compensation clause. Plaintiff seeks damages resulting from the loss of use and enjoyment of her

 property; annoyance and discomfort; damage to her personal property; diminution in the market

 value of her property; costs and expenses incurred as a result of her exposure to radioactive

 emissions, including the cost of remediation and relocation; statutory damages under Missouri

 state law; punitive and exemplary damages; costs and attorneys’ fees; and interest on the above

 amounts. Plaintiff also seeks injunctive relief in the form of medical and scientific monitoring of

 her home and property, as well as environmental testing, clean-up, and continued medical

 testing.

            On April 18, 2018, Defendants removed the action to this Court on the grounds that

 Plaintiff’s action arises out of the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., and

 that, therefore, the Court has subject matter jurisdiction. (Doc. No. 1). On May 25, 2018,

 Defendants moved to dismiss Plaintiff’s claims. (Doc. Nos. 27, 29, 36, 37).

            Plaintiff filed her motion to remand on May 29, 2018, asserting that she has pled only

 state law causes of action and that her original and amended petitions raise no claims under

 federal law. (Doc. No. 38). Plaintiff specifically alleges that her claims do not fall within the

 scope of the PAA because (i) Coldwater Creek is not and never has been a licensed nuclear

 facility; (ii) Defendants have never received a license to possess, transport, or dispose of any

 radioactive waste on or in Coldwater Creek; (iii) Defendants did not have a license to dispose of

 radioactive wastes in Coldwater Creek; (iv) Defendants did not have a license to handle the

 particular materials they handled as alleged herein, including enriched thorium; and (v)

 Defendants have never entered into an indemnification agreement with the United States



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 government under 42 U.S.C. § 2210 with respect to the complained activities. (FAP at ¶¶ 14 A-

 E).

        On June 14, 2018, the Court granted Plaintiff’s motion to stay Defendants’ motions to

 dismiss pending resolution of her motion to remand and stayed proceedings for sixty days. (Doc.

 Nos. 51). Following a hearing on Plaintiff’s motion to remand on August 8, 2018, the Court

 extended the stay until further order of the Court. (Doc. No. 71).

        II.     Legal standard

        Federal courts are courts of limited jurisdiction. Ark. Blue Cross & Blue Shield v. Little

 Rock Cardiology Clinic, P.A., 551 F.3d 812, 816 (8th Cir. 2009). A federal district court may

 exercise removal jurisdiction only where the court would have had original subject-matter

 jurisdiction had the action initially been filed there. Krispin v. May Dep’t Stores Co., 218 F.3d

 919, 922 (8th Cir. 2000) (citing 28 U.S.C. § 1441(b)). A party seeking removal and opposing

 remand carries the burden of establishing federal subject-matter jurisdiction by a preponderance

 of the evidence. In re Prempro Prods. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010). Generally,

 a court must resolve all doubts about federal jurisdiction in favor of remanding the case to state

 court. In re Prempro, 591 F.3d at 620.

        “The presence or absence of federal-question jurisdiction is governed by the ‘well-

 pleaded complaint rule,’ which provides that federal jurisdiction exists only when a federal

 question is presented on the face of the plaintiff’s properly pleaded complaint.” Bowler v.

 Alliedbarton Security Services, LLC, 123 F. Supp.3d 1152, 1155 (E.D. Mo. 2015) (quoting

 Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). See also Gaming Corp. of America v.

 Dorsey & Whitney, 88 F.3d 536, 542 (8th Cir. 1996) (“The ‘well-pleaded complaint rule’

 requires that a federal cause of action must be stated on the face of the complaint before the



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 defendant may remove the action based on federal question jurisdiction.”) (quoting Caterpillar,

 482 U.S. at 392). Because federal law provides that plaintiffs are the “masters” of their claims,

 plaintiffs “may avoid federal jurisdiction by exclusive reliance on state law.” Caterpillar, 482

 U.S. at 392.

        Even in situations where a cause of action based on a federal statute does not appear on

 the face of the complaint, preemption based on a federal statutory scheme may apply in

 circumstances where “the pre-emptive force of a statute is so extraordinary that it converts an

 ordinary state common-law complaint into one stating a federal claim.” Bowler, 123 F. Supp.3d

 at 1155 (quoting Caterpillar, 482 U.S. at 393). See, e.g., Metro. Life Ins. Co. v. Taylor, 481 U.S.

 58 (1987) (where a former employee alleged breach of contract, retaliatory discharge, and

 wrongful termination of disability benefits in state court complaint, the court held that the former

 employee’s claims were preempted by ERISA; plaintiff's claims were necessarily federal in

 character; and, therefore, removal under 28 U.S.C. § 1441(a) was proper). “Where a complaint

 raises issues to which federal law applies with complete preemptive force, the [c]ourt must look

 beyond the face of the complaint in determining whether remand is proper.” Bowler, 123 F.

 Supp.3d at 1155 (quoting Green v. Arizona Cardinals Football Club, LLC, 21 F. Supp.3d 1020,

 1025 (E.D. Mo. 2014)).

        As further explained by the Eighth Circuit, the exception to the well-pleaded complaint

 rule applies where a federal statute provides “an exclusive cause of action for the claim asserted

 and also set[s] forth procedures and remedies governing that cause of action.” Id. (quoting

 Johnson v. MFA Petroleum Co., 701 F.3d 243, 248 (8th Cir. 2012). Thus, although a plaintiff has

 only filed state law claims, a court may conclude that the plaintiff has “simply brought a




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 mislabeled federal claim, which may be asserted under some federal statute.” Id. (quoting

 Johnson, 701 F.3d at 247 (internal quotation marks and citation omitted).

         III.     Price-Anderson Act

         A. History

         In 1954, Congress enacted the Atomic Energy Act of 1954 (“AEA”), 42 U.S.C. §§ 2011–

 2281, to encourage private sector development of atomic energy for peaceful purposes under a

 program of federal regulation and licensing. The Act alone failed to spur private sector entry into

 the field of nuclear energy due in part to a fear of potentially bankrupting liability absent some

 limiting legislation. Carey v. Kerr-McGee Chemical Corp., 60 F. Supp.2d 800, 803 (N.D. Ill.

 1999) (citing Duke Power Co. v. Carolina Environmental Study Group, Inc., 438 U.S. 59, 64

 (1978)). Thus, in 1957, Congress amended the AEA with the Price-Anderson Act (“PAA”), 42

 U.S.C. § 2011 et seq., for the express purpose of “protecting the public and … encouraging the

 development of the atomic energy industry.” Id. (quoting El Paso Natural Gas Co. v. Neztsosie,

 526 U.S. 473 (1999)). The PAA had three main features: (i) it established a limit on the

 aggregate liability of those who undertake activity involving the handling or use of radioactive

 materials; (ii) it channeled public liability resulting from nuclear incidents to the federal

 government; and (iii) it established that all public liability claims above the amount of required

 private insurance protection would be indemnified by the federal government up to the aggregate

 limit on liability. Id.

         Congress continues to build on the PAA’s foundation, expanding its scope and functions.

 Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 273, 278 (3d Cir. 2017) (citing In re TMI

 Litig. Cases Consol. II, 940 F.2d 832, 852 (3d Cir. 1991)). The Act initially relied on state courts

 and state law to rule on and govern liability for nuclear accidents. Id. However, amendments to



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 the PAA in 1966 “provided for the transfer, to a federal district court, of all claims arising out of

 an extraordinary nuclear occurrence” and brought about greater uniformity of liability

 determinations while retaining state-law causes of action. Id. The amendments required

 indemnified entities “to waive the defenses of negligence, contributory negligence, charitable or

 governmental immunity, and assumption of the risk in the event of an action arising as the result

 of an extraordinary nuclear occurrence.” Id. These provisions were premised on “congressional

 concern that state tort law dealing with liability for nuclear incidents was generally unsettled and

 that some way of insuring a common standard of responsibility of all jurisdictions – strict

 liability – was needed. A waiver of defenses was thought to be the preferable approach since it

 entailed less interference with state tort law than would the enactment of a federal statute

 prescribing strict liability.” Carey, 60 F. Supp. 2d at 803 (quoting O’Conner v. Commonwealth

 Edison Co., 13 F.3d 1090, 1095 (7th Cir. 1994)).

        The PAA was amended again in 1988 to provide for the removal to federal court of any

 “public liability action arising out of or resulting from a nuclear incident.” 42 U.S.C. § 2210(n).

 Courts that have considered generally the scope of jurisdiction following these amendments have

 found that Congress intended to create an exclusive federal cause of action for torts arising out of

 a “nuclear incident,” as defined in the Act. See, e.g., In re Berg Litig., 293 F.3d 1127, 1132 (9th

 Cir. 2002) (public liability action as “exclusive means” of pursuing a nuclear incident claim);

 Roberts v. Florida Power & Light Co., 146 F.3d 1305, 1306 (11th Cir. 1998) (PAA creates

 “exclusive” federal cause of action); Nieman v. NLO, Inc., 108 F.3d 1546, 1553 (6th Cir. 1997)

 (PAA preempts state law claims and they “cannot stand as separate causes of action”); Kerr-

 McGee Corp. v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997) (PAA as the “sole remedy” for

 claims involving atomic energy production); O’Conner v. Commonwealth Edison Co., 13 F.3d



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 1090, 1099–1100 (7th Cir. 1994) (noting that “a state cause of action is not merely transferred to

 federal court; instead, a new federal cause of action supplants the prior state cause of action.”);

 TMI II, 940 F.2d at 854 (noting that “Congress clearly intended to supplant all possible state

 causes of action when the factual prerequisite of the statute are met.”). Although the 1988

 amendments to the Act clearly created a “federal cause of action,” Day v. NLO, Inc., 3 F.3d 153,

 154 n. 3 (6th Cir. 1993), it is a federal cause of action of a “peculiar nature,” Heinrich ex rel.

 Heinrich v. Sweet, 62 F. Supp. 2d 282, 296–97 (D. Mass. 1999). The Act incorporates state law

 as the substantive rule of decision to govern the federal cause of action, so long as the state law is

 not inconsistent with the purposes of the Act. Id. (citing 42 U.S.C. § 2014(hh)).

        B. Key provisions

        Notably, the structure of the PAA, as set forth in the following provisions, has been

 described as “complicated,” “interlocking,” and “us[ing] words in unintuitive ways.” Estate of

 Ware, 871 F.3d at 280. The PAA’s jurisdictional provision, 42 U.S.C. § 2210(n)(2), provides in

 relevant part:

        With respect to any public liability action arising out of or resulting from a nuclear
        incident, the United States district court in the district where the nuclear incident takes
        place, … shall have original jurisdiction without regard to citizenship of any party or the
        amount in controversy …

        A “public liability action” is “any suit asserting public liability.” Id. § 2014(hh). “Public

 liability” means (apart from certain exceptions not relevant here) “any legal liability arising out

 of or resulting from a nuclear incident.” Id. § 2014(w).

        A “nuclear incident” is defined as:

                  any occurrence, including an extraordinary nuclear occurrence, … bodily injury,
                  sickness, disease, or death, or loss of or damage to property, or loss of use of
                  property, arising out of or resulting from the radioactive, toxic, explosive or other
                  hazardous properties of source, special nuclear, or byproduct material[.]


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 Id. § 2014(q). The PAA does not define the term “occurrence.” An “extraordinary nuclear

 occurrence” is defined as:

                  any event causing a discharge or dispersal of source, special nuclear, or byproduct
                  material from its intended place of confinement in amounts offsite, or causing
                  radiation levels offsite, which the Nuclear Regulatory Commission or the
                  Secretary of Energy, as appropriate, determines to be substantial, and which the
                  Nuclear Regulatory Commission or the Secretary of Energy, as appropriate,
                  determines has resulted or will probably result in substantial damages to persons
                  offsite or property offsite … The Nuclear Regulatory Commission or the
                  Secretary of Energy, as appropriate, shall establish criteria in writing setting forth
                  the basis upon which such determination shall be made. As used in this
                  subsection, “offsite” means away from “the location” or “the contract location” as
                  defined in the applicable Nuclear Regulatory Commission or the Secretary of
                  Energy, as appropriate, indemnity agreement, entered into pursuant to section
                  2210 of this title.

 Id. § 2014(j).

        The term “byproduct material” is defined in relevant part as “the tailings or wastes

 produced by the extraction or concentration of uranium or thorium from any ore processed

 primarily for its source material content.” Id. § 2014(e)(2). The term “source material” means

 “(1) uranium, thorium, or any other material which is determined by the Commission pursuant to

 the provisions of section 2091 of this title to be source material; or (2) ores containing one or

 more of the foregoing materials, in such concentration as the Commission may by regulation

 determine from time to time.” Id. § 2014 (z)(1), (2).

        IV.       Parties’ arguments

        Relying on a recent opinion from this District, Strong v. Republic Services, Inc., 283 F.

 Supp.3d 759 (E.D. Mo. 2017), Plaintiff argues that the PAA does not apply to her claims in the

 absence of an appropriate license or indemnity agreement covering the activities complained of.

 Without a license or indemnity agreement, there can be no “occurrence,” that is, no event at the


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 site of “licensed activity,” that would constitute a “nuclear incident.” Without a “nuclear

 incident,” Plaintiff’s action is not a “public liability action” and is thus not preempted by §

 2210(n)(2). (Doc. No. 39 at 1, 7-12). Plaintiff acknowledges that Cotter was issued a license by

 the Atomic Energy Commission (AEC) to possess “source material,” i.e., uranium, in 1969;

 however, she contends that this license could not have covered uranium mill tailings because at

 that time, the definition of “byproduct material” did not include uranium or thorium mill tailings.

 Plaintiff argues that none of the Defendants herein had an indemnity agreement or license to

 handle, store or transport hazardous byproducts, such as uranium mill tailings, which Plaintiff

 alleges were the source of the contamination at issue. (Id. at 12). Plaintiff also argues that

 applying PAA preemption to her state law claims would violate her constitutional right to Due

 Process by depriving her of her common law property rights without providing a reasonable

 alternative remedy. (Doc. No. 39 at 15).

         Defendants respond that neither the plain language of the PAA nor its legislative history

 supports Plaintiff’s contention that a license or indemnity agreement is required for federal

 jurisdiction 1 and that numerous courts have criticized and rejected the same arguments she

 advances here. (Doc. No. 52 at 1-12). In any event, Defendants contend that Cotter had such a

 license. 2 (Id. at 9-11). Defendants further respond that PAA preemption of Plaintiff’s state law


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  During oral argument, Defendants noted this matter is related to similar lawsuits in this Court, including
 McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF (E.D. Mo. 2012). In McClurg, however, no
 motion to remand was filed and the parties have not challenged the Court’s jurisdiction under the PAA.
 Thus, McClurg provides no guidance on the issues raised herein.
 2
   A copy of the license was submitted as an exhibit to Defendants’ opposition to Plaintiff’s motion to
 remand. (See Doc. No. 52-7). Plaintiff agrees the exhibit is a public record that the Court can consider on
 remand. The License issued in 1969 authorized Cotter “to receive, possess and import the [designated]
 source material [ ], to use such material for the purpose(s) and at the place(s) designated [ ], and to deliver
 or transfer such material to persons authorized to receive it in accordance with the regulations” of Title 10
 of the Code of Federal Regulations, Chapter 1, Part 40. The License states that the “[a]uthorized place of
 use” was Cotter’s facility located at 9200 Latty Avenue; that the “[m]aximum quantity of source material
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 claims would not violate her due process rights. Citing Duke Power Co. v. Carolina Envtl. Study

 Grp., 438 U.S. 59, 88 (1978), Defendants assert that rather than abolishing any rights, the PAA

 “transforms” actions based on state law claims that seek to impose public liability into federal

 actions and provides a reasonable substitute remedy for the common law or state tort law

 remedies it replaced. (Doc. No. 52 at 13-14).

         In reply, Plaintiff does not dispute that the 1988 amendments to the PAA expanded

 federal jurisdiction to nuclear incidents not considered “substantial;” rather, she contends that the

 amendments did not eliminate the Act’s licensing/indemnity scheme. Plaintiff asserts that the

 PAA does not afford protections to private entities and persons engaged in activities without

 authorization, license or permission contemplated under the Act. (Doc. No. 59 at 4-5). Moreover,

 the legislative history of the PAA suggests that Congress did not intend to preempt all state law

 actions involving nuclear energy – just those rising to the level of a “nuclear incident.”

         Plaintiff submits declarations from Richard Stewart, an “environmental and

 administrative law expert” (Doc. No. 59-1), and Dr. Marvin Resnikoff, an “expert in nuclear

 waste transportation, storage and disposal” (Doc. No. 59-2). Stewart opines that the PAA does

 not apply in this case; Resnikoff opines that the radioactive wastes at issue were mill tailings

 which by definition were not byproduct material until the passage of the Uranium Mill Tailings

 Act (“UMTRCA”) in 1978. In addition, Plaintiff cites to Envirocare of Utah & Snake River

 Alliance, 56 N.R.C. 53 (Dec. 13, 2000), to support her contention that the NRC has already

 determined that the radioactive wastes at issue are not subject to federal regulation. (Doc. No. 59

 at 9-10).



 which [Cotter] [could] possess at any one time under [the] license [was] unlimited”; and that the License
 would expire on December 31, 1974.


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         In their surreply, Defendants urge the Court to disregard the declarations of Plaintiff’s

 “experts” because they improperly opine on matters of law and are based on unsupported factual

 assumptions. 3 (Doc. No. 65 at 2-7). Defendants also argue that Plaintiff’s reliance on an NRC

 staff director decision is misplaced. (Id. at 8-9) Envirocare explicitly pertains to mill tailings,

 which Plaintiff assumes are at issue, but which Defendants dispute. Further, Plaintiff has not

 alleged that any part of the process that generated the material at issue in this case involved a

 uranium mill or that any of the sites at issue contained a uranium mill. (Id. at 9).

         V.      Discussion

         There are numerous conflicting opinions as to whether a license or an indemnity

 agreement is required for federal subject matter jurisdiction pursuant to the PAA. Several courts,

 including one in this District, have reasoned that in the absence of a license or indemnification

 agreement covering the activities which giving rise to the liability alleged, there can be no

 “occurrence,” that is, no event at the site of licensed activity, that would constitute a “nuclear

 incident.” See Gilberg v. Stepan Co., 24 F. Supp.2d 325, 343 (D. N.J. 1998); Heinrich ex rel.

 Heinrich v. Sweet, 62 F. Supp. 2d 282, 297 (D. Mass. 1999); Joseph v. Sweet, 125 F. Supp.2d

 573, 576 (D. Mass. 2000); Samples v. Conoco, Inc., 165 F. Supp.2d 1303, 1321-22 (N.D. Fl.

 2001); Irwin v. CSX Transp., Inc., No. 3:10-CV-300, 2011 WL 976376, at *2 (E.D. Tenn. Mar.

 16, 2011); Strong, 283 F. Supp.3d 759. Rejecting the contention that the PAA is now so broad as

 to cover any claim of property damage allegedly caused by certain nuclear material, these courts


 3
   While it is generally improper to raise a new argument in a reply brief, courts may consider such an
 argument where, as here, the nonmoving party has been given leave to file a surreply to address the new
 argument, and did so. Etrailer Corp. v. Onyx Enterprises, Int'l Corp., No. 4:17-CV-01284-AGF, 2017 WL
 3021496, at *3 (E.D. Mo. July 17, 2017) (citations omitted). As for the declarations, significant portions
 of Stewart’s declaration are legal conclusions that the Court has not considered for purposes of this
 motion. As for Resnikoff’s opinion, assuming the radioactive waste at issue in this case was mill tailings,
 consistent with the analysis in Strong, it would not be covered under Cotter’s license because at the time
 the license was issued, the definition of “byproduct material” did not include uranium mill tailings.
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 focus on the original purpose of the PAA, i.e., to protect the public and encourage development

 of the atomic energy industry by providing certain licensees with a system of private insurance,

 government indemnification, and limited liability for certain nuclear tort claims. The courts

 further support their holdings by emphasizing that the word “occurrence” as used in the

 definition of “nuclear incident” means “that event at the site of the licensed activity, or activity

 for which the Commission has entered into a contract, which may cause damage.”

        Other courts have concluded that such an interpretation runs counter to the plain language

 of the PAA as well as the Congressional intent behind the 1988 amendments. See Estate of

 Ware, 871 F.3d at 283; Acuna v. Brown & Root Inc., 200 F. 3d 335, 339 (5th Cir. 2000);

 O’Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1378 (C.D. Ill. 1992); Carey v.

 Kerr-McGee Chem. Co., 60 F. Supp.2d 800, 806 (N.D. Ill. 1999); Cotromano v. United

 Technologies Corp., 7 F. Supp. 3d 1253 (S.D. Fla. 2014). This Court recently addressed the issue

 in Strong, 283 F. Supp.3d 759, a case involving the same facts, one of the same defendants

 (Cotter), and addressing virtually identical arguments from both sides. The Court finds the

 Strong court’s reasoning persuasive and agrees that “whether as a matter of statutory

 construction or the structure and history of the PAA,” a license or indemnity agreement is a

 prerequisite for federal subject matter jurisdiction pursuant to the PAA. Id. at 772.

        In Strong, it was alleged that defendants accepted radioactive waste consisting of

 uranium mill tailings without a license to do so and that the waste had spread to the plaintiffs’

 family farm. The court held there was no federal subject matter jurisdiction under the PAA

 without a license or an indemnity agreement. Although the waste originated from the facility of a

 nonparty (Cotter) that had a license to receive, possess, and import the “source material,” Strong

 held that such a source material license could not be the basis for federal subject matter



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 jurisdiction, because it did not cover uranium mill tailings. Accordingly, the case was remanded

 to state court. Id. at 772-74.

         In reaching its conclusion that there cannot be a nuclear incident without an applicable

 license or indemnity agreement, the Strong court was persuaded by the analysis of the PAA and

 its history in Gilberg, 24 F. Supp.2d 325. Noting that case law did not clarify whether the PAA’s

 jurisdictional provisions operate independently form its indemnification provisions, the court in

 Gilberg looked to the language of the Act itself. The court found it significant that the PAA’s

 definition of nuclear incident uses “occurrence” together with the clause “including an

 extraordinary nuclear occurrence,” so as to read, “[t]he term ‘nuclear incident’ means any

 occurrence, including an extraordinary nuclear occurrence.” Id. at 332. The court then reviewed

 the express definition of an “extraordinary nuclear occurrence,” i.e., “any event causing a

 discharge … from its intended place of confinement in amounts off-site, or causing radiation

 levels off-site …”, and noted that as used in this subsection the term “off-site” means “away

 from the location or the contract location as defined in the applicable ... indemnity agreement

 entered into pursuant to § 2210 of this Title.” Id. Because of what it termed “the proximity to and

 interrelationship between the word ‘occurrence’ and the phrase ‘extraordinary nuclear

 occurrence,’ Gilberg concluded, as a matter of statutory construction, that “the occurrence which

 underlies a ‘nuclear incident,’ can only be an event at ‘the location’ or ‘the contract location’ as

 that term is defined in an indemnity agreement entered into under § 2210.” Id.

         The court also examined the legislative history of the PAA, S. Rep. No. 85–296, 1957

 WL 5103, at *1817–18 (May 9, 1957), and found implicit in its language 4 that the terms “nuclear


 4
  IT WAS NOT THOUGHT THAT AN INCIDENT WOULD NECESSARILY HAVE TO OCCUR
 WITHIN ANY RELATIVELY SHORT PERIOD OF TIME .... THE OCCURRENCE WHICH IS THE
 SUBJECT OF THIS DEFINITION IS THAT EVENT AT THE SITE OF THE LICENSED ACTIVITY,
 OR ACTIVITY FOR WHICH THE COMMISSION HAS ENTERED INTO A CONTRACT, WHICH
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 incident” and “occurrence” are “inextricably intertwined” with “licenses” and “indemnification

 agreements,” suggesting that licenses and indemnification agreements are an integral part of the

 PAA’s statutory scheme. Strong, 283 F. Supp. 3d at 770–71.

        The Strong court went on to reject the defendants’ argument that Cotter’s 1969 Source

 Material License – the same license at issue in the instant case – applied to the plaintiff’s claims.

 Id. at 772. The court reasoned that in 1969 when Cotter received the license, and in 1973 when

 the defendants allegedly accepted the material at issue, the definition of “byproduct material” did

 not include uranium or thorium mill tailings. It was not until 1978 that Congress amended the

 definition of “byproduct material” to include uranium and thorium mill tailings. Id. at 772-73

 (citing 42 U.S.C. § 2014(e)(2)). Moreover, the Uranium Mill Tailing Radiation Control Act of

 1978 (“UMTRCA”), which first included uranium mill tailings in the definition of byproduct

 material, states that the amendments “shall take effect on the date of the enactment of the Act.”

 PL 95–604 (HR 13650), Nov. 8, 1978, 92 Stat. 3021, Title II - Uranium Mill Tailings Licensing

 and Regulation Definition, Sec. 208. Based on this analysis, the Strong court concluded that

 “Cotter’s 1969 Source Material License could not have covered uranium mill tailings.” Id. at

 773.

        Here, Defendants argue that Plaintiff’s restrictive reading of the definition of “nuclear

 incident” as an event at “the location or the contract location” as that term is defined in the

 MAY CAUSE DAMAGE, RATHER THAN THE SITE WHERE THE DAMAGE MAY PERHAPS BE
 CAUSED. THE SITE MUST BE WITHIN THE UNITED STATES.... IT DOES NOT MATTER WHAT
 LICENSE MAY BE APPLICABLE IF THE OCCURENCE IS WITHIN THE UNITED STATES....
 THE INDEMNIFICATION AGREEMENTS ARE INTENDED TO COVER DAMAGES CAUSED BY
 NUCLEAR INCIDENTS FOR WHICH THERE MAY BE LIABILITY NO MATTER WHEN THE
 DAMAGE IS DISCOVERED, I.E., EVEN AFTER THE END OF THE LICENSE. THAT IS WHY THE
 DEFINITION OF ‘NUCLEAR INCIDENT’ HAS THE PHRASE ‘ANY OCCURENCE * * * CAUSING
 BODILY INJURY, SICKNESS, DISEASE, OR DEATH’ AND WHY THE DEFINITION OF ‘PUBLIC
 LIABILITY’ IS TIED TO ANY LEGAL LIABILITY ARISING OUT OF, OR RESULTING FROM, A
 NUCLEAR INCIDENT.

 Strong, 283 F. Supp. 3d at 770–71.
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 applicable indemnity agreement entered into pursuant to 42 U.S.C. § 2210 narrows what

 Congress obviously intended to be a broader term - and effectively nullifies the 1988

 amendments. In ascertaining the plain meaning of a statute, the Court relies on established rules

 of statutory interpretation, looking not only to the particular statutory language at issue, but also

 the design of the statute as a whole. DeBough v. Shulman, 799 F.3d 1210, 1212 (8th Cir. 2015);

 United States v. I.L., 614 F.3d 817, 820-21 (8th Cir. 2010) (citations omitted).

         According to a Senate report, “[t]he Price–Anderson system is a comprehensive,

 compensation-oriented system of liability insurance for Department of Energy (“DOE”)

 contractors and Nuclear Regulatory Commission (“NRC”) licensees operating nuclear facilities. 5

 Under the Price–Anderson system, there is a ready source of funds available to compensate the

 public after an accident, and the channeling of liability to a single entity and waiver of defenses

 insures that protracted litigation will be avoided. That is, the [PAA] provides a type of “no fault”

 insurance, by which all liability after an accident is assumed to rest with the facility operator,

 even though other parties (such as subcontractors or suppliers) might be liable under

 conventional tort principles. This “omnibus” feature permits a more unified and efficient

 approach to processing and settlement of claims, thus allowing quick compensation to the public

 from the pool of funds set up by the Price–Anderson system.” S. Rep. No. 100-70 (1988), U.S.

 Code Cong. & Admin. News 1988, 1424, 1426-27.


 5
   The coverage for NRC licensees encompasses activities of commercial nuclear power plants, certain
 fuel fabrication facilities, and non-DOE reactors used for educational and research purposes. Activities of
 DOE contractors are covered if they involve “the risk of public liability for a substantial nuclear
 incident.” These contractor activities include nuclear weapons research, development and testing, nuclear
 energy research and development, and nuclear waste activities. The Act specifies the procedures for
 determining the amount and sources of compensation available to compensate persons injured as a result
 of a nuclear incident arising from these activities. Dan M. Berkovitz, Price–Anderson Act: Model
 Compensation Legislation? - The Sixty–Three Million Dollar Question, 13 Harv. Envt’l. L. Rev. 1, 1–2
 (1989) (footnotes omitted).


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         It is clear that the 1988 amendments were enacted to expand the scope of federal

 jurisdiction to a broader class of nuclear liability cases than those arising just from extraordinary

 nuclear occurrences as well as to provide for consolidation of those claims in federal court.

 However, in light of the PAA’s concerns related to liability limitation and indemnification, the

 Court is not convinced that the 1988 amendments were meant to extend the reach of the PAA to

 activities not covered by applicable licenses or indemnity agreements. Defendants’ construction

 overlooks the original purposes and framework of the AEA and the PAA - to require those

 involved in the nuclear industry to obtain licenses and maintain financial protections. When

 faced with “competing preemption narratives,” the Court has the “duty to accept the reading that

 disfavors preemption.” Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1094 (10th Cir. 2015).

         Defendants further argue that Strong did not conclude that Cotter’s 1969 source material

 license could not support jurisdiction under the PAA. Rather, the court merely found that

 Cotter’s license did not cover uranium mill tailings. Here, Plaintiff asserts that Cotter’s license

 authorizing it “to receive, possess and import” uranium did not apply to the uranium mill tailings

 at issue. 6 Defendants dispute that the material at issue was mill tailings. Like in Strong, the Court

 cannot conclude, based on the record before it, that the material was in fact mill tailings. If, as

 Plaintiff contends, the material is uranium mill tailings, then consistent with the analysis in

 Strong, Cotter’s 1969 Source Material License could not have covered it because at the time the

 license was issued, the term “byproduct material” did not include uranium mill tailings. 283 F.

 Supp. 3d at 772-73. Moreover, Defendants have not established that Cotter’s 1969 Source

 Material License authorizing it “to receive, possess and import” uranium covered their activities


 6
  The Court notes that Plaintiff’s amended complaint does not specifically allege the material at issue was
 uranium mill tailings. (See FAP at ¶ 89) (“[t]he radioactive contamination that has polluted [Plaintiff’s
 property] and continues to threaten to further pollute [Plaintiff’s property] match the waste fingerprint (or
 profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.”).
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 at the sites involved in this case. Thus, Cotter’s license does not provide a basis for federal

 subject matter jurisdiction.

        VI.     Conclusion

        For all of these reasons, the Court finds that Defendants have failed to meet their burden

 of establishing federal subject matter jurisdiction for purposes of the PAA and that this matter

 should be remanded to state court. Given this finding, the Court need not address the merits of

 Plaintiff’s due process argument. Strong, 283 F. Supp. 3d at 774. Finally, because the Court

 lacks subject matter jurisdiction over this action, Defendants’ pending motions to dismiss will be

 denied without prejudice.

        Accordingly,

        IT IS HEREBY ORDERED that Plaintiffs’ Motion for Remand [38] is GRANTED and

 this matter is REMANDED to the Circuit Court of St. Louis County under 28 U.S.C. § 1447(c).

        IT IS FURTHER ORDERED that Defendants’ motions to dismiss [27, 29, 36, 37] are

 DENIED without prejudice to refiling in state court.



 Dated this 29th day of March, 2019.

                                                     __________________________________
                                                     JOHN A. ROSS
                                                     UNITED STATES DISTRICT JUDGE




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           IN THE 21ST JUDICIAL CIRCUIT COURT,                             ST. LOUIS COUNTY                    , MISSOURI

 Tamia Banks,
          Plaintiff,
                         vs.
 Cotter Corporation Et Al,
          Defendant.

 Case Number: 18SL-CC00617

                                              Entry of Appearance

    Comes now undersigned counsel and enters his/her appearance as attorney of record for Tamia Banks, Plaintiff, in
    the above-styled cause.




                                                          /s/ Nathaniel R. Carroll, Co-Counsel for Plaintiff
                                                           Nathaniel Richard Carroll
                                                           Mo Bar Number: 67988
                                                           Attorney for Plaintiff
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    I hereby certify that on          April 3rd, 2019           , a copy of the foregoing was sent through the
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                                                          /s/ Nathaniel R. Carroll, Co-Counsel for Plaintiff
                                                           Nathaniel Richard Carroll



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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN,
 KENNETH NIEBLING, KENDALL LACY,
 TANJA LACY, WILLIE CLAY, BOBBIE                            Case No. 18SL-CC00617-01
 JEAN CLAY, ANGELA STATUM, and                                    Division No. 17
 MISSOURI RENTALS COMPANY, LLC, on
 behalf of themselves and all others similarly
 situated,
               Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.


                                  ENTRY OF APPEARANCE

        The undersigned attorneys enter their appearance on behalf of Defendant Cotter

 Corporation (N.S.L.) without waiver of jurisdictional or other defenses.

        Dated: March 30, 2020                        Respectfully submitted,

                                                     /s/ Brian O. Watson
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                                                     Brian O. Watson, #68678MO
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          The undersigned attorney certifies on March 30, 2020, these papers were filed via the

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                                                    Respectfully submitted,

                                                    /s/ Brian O. Watson
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  02/18/2018           Judge Assigned
                       DIV 2
                       Pet Filed in Circuit Ct
                       Class Action Petition.
                          On Behalf Of: TAMIA BANKS
                       Note to Clerk eFiling
                         Filed By: RYAN A. KEANE
                       Filing Info Sheet eFiling
                           Filed By: RYAN A. KEANE

  02/20/2018           Summ Issd- Circ Pers Serv O/S
                       Document ID: 18-SMOS-181, for COTTER CORPORATION.Summons Attached in PDF Form for
                       Attorney to Retrieve from Secure Case.Net and Process for Service.
                       Summ Issd- Circ Pers Serv O/S
                       Document ID: 18-SMOS-182, for COMMONWEALTH EDISON COMPANY.Summons Attached in PDF
                       Form for Attorney to Retrieve from Secure Case.Net and Process for Service.
                       Summ Issd- Circ Pers Serv O/S
                       Document ID: 18-SMOS-183, for EXELON CORPORATION.Summons Attached in PDF Form for
                       Attorney to Retrieve from Secure Case.Net and Process for Service.
                       Summ Issd- Circ Pers Serv O/S
                       Document ID: 18-SMOS-184, for EXELON GENERATION COMPANY, LLC.Summons Attached in PDF
                       Form for Attorney to Retrieve from Secure Case.Net and Process for Service.
                       Judge/Clerk - Note
                       NO SUMMONS ISSUED FOR DJR HOLDINGSINC DUE TO MISSING SERVICE FEES. SERVICE
                       FEE = $36.00 PER DEFENDANT WITH A ST. LOUIS COUNTY ADDRESS. PLEASE E-FILE A
                       SERVICE MEMO WITH THE MISSING SERVICE FEES ATTACHED. -NO SUMMONS ISSUED

  03/01/2018           Entry of Appearance Filed
                       Entry of Appearance; Electronic Filing Certificate of Service.
                          Filed By: ALEXANDER L BRAITBERG
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                       Request for Special Process Server; Electronic Filing Certificate of Service. APPROVED 3-20-2018
                         Filed By: ALEXANDER L BRAITBERG
                         On Behalf Of: TAMIA BANKS
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  03/20/2018          Summons Issued-Circuit
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                      Summons Issued-Circuit
                      Document ID: 18-SMCC-2198, for ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY OF ST.
                      LOUIS. Summons Attached in PDF Form for Attorney to Retrieve from Secure Case.Net and Process
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                      Corporation Served
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                      Notice of Service
                      Affidavit of Service for Exelon Generation Co LLC; Electronic Filing Certificate of Service.
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                      Affidavit of Service for Commonwealth Edison Company; Electronic Filing Certificate of Service.
                          Filed By: ALEXANDER L BRAITBERG
                          On Behalf Of: TAMIA BANKS
                      Notice of Service
                      Affidavit of Service for Cotter Corporation; Electronic Filing Certificate of Service.
                          Filed By: ALEXANDER L BRAITBERG
                          On Behalf Of: TAMIA BANKS
                      Corporation Served
                      Document ID - 18-SMOS-182; Served To - COMMONWEALTH EDISON COMPANY; Server - ; Served
                      Date - 19-MAR-18; Served Time - 12:26:00; Service Type - Special Process Server; Reason
                      Description - Served
                      Corporation Served
                      Document ID - 18-SMOS-181; Served To - COTTER CORPORATION; Server - ; Served Date - 19-
                      MAR-18; Served Time - 11:23:00; Service Type - Special Process Server; Reason Description - Served

  04/02/2018          Amend Pet/Mot to Modfy Filed
                      First Amended Class Action Petition; Electronic Filing Certificate of Service.
                         Filed By: RYAN A. KEANE
                         On Behalf Of: TAMIA BANKS

  04/06/2018          Notice of Service
                      Affidavit of Service for DJR Holdings, Inc; Electronic Filing Certificate of Service.
                          Filed By: ALEXANDER L BRAITBERG
                          On Behalf Of: TAMIA BANKS

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                   2/4
9/10/2020   Case: 4:20-cv-01227-JAR Doc. #: 1-4   Filed:
                                             Case.net:     09/10/20
                                                       18SL-CC00617      Page:
                                                                    - Docket       279 of 280 PageID #: 326
                                                                             Entries
                      Notice of Service
                      Affidavit of Service for St Louis Airport Authority; Electronic Filing Certificate of Service.
                          Filed By: ALEXANDER L BRAITBERG
                          On Behalf Of: TAMIA BANKS

  04/09/2018          Motion for Apptmnt of Counsel
                      Motion for Pro Hac Vice Admission of Ron Austin; Exh A; Exh B; Electronic Filing Certificate of Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS
                        Associated Entries: 04/12/2018 - Order
                      Motion for Apptmnt of Counsel
                      Motion for Pro Hac Vice Admission of Catherine Hilton; Exh A; Exh B; Electronic Filing Certificate of
                      Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS
                        Associated Entries: 04/12/2018 - Order

  04/10/2018          Order Granting Leave
                      TO FILE FIRST AMENDED CLASS ACTION PETITION

  04/11/2018          Summons Personally Served
                      Document ID - 18-SMCC-2197; Served To - DJR HOLDINGS, INC. F/K/A FUTURA COATINGS, INC.;
                      Server - ; Served Date - 28-MAR-18; Served Time - 00:00:00; Service Type - Special Process Server;
                      Reason Description - Served
                      Summons Personally Served
                      Document ID - 18-SMCC-2198; Served To - ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY
                      OF ST. LOUIS; Server - ; Served Date - 02-APR-18; Served Time - 00:00:00; Service Type - Special
                      Process Server; Reason Description - Served

  04/12/2018          Judge/Clerk - Note
                      ENTERED IN ERROR - DISREGARD
                      Order
                      MOTION FOR PRO HAC VICE ADMISSION OF RON AUSTIN
                        Associated Entries: 04/09/2018 - Motion for Apptmnt of Counsel
                      Order
                      MOTION FOR PRO HAC VICE ADMISSION OF CATHERINE HILTON
                        Associated Entries: 04/09/2018 - Motion for Apptmnt of Counsel

  04/18/2018          Notice
                      Notice of Removal to Federal Court; Electronic Filing Certificate of Service.
                        Filed By: ERIN LYNN BROOKS
                        On Behalf Of: COTTER CORPORATION, EXELON CORPORATION, EXELON GENERATION
                      COMPANY, LLC

  04/19/2018          Notice
                      Notice of Removal to Federal Court; Electronic Filing Certificate of Service.
                        Filed By: ERIN LYNN BROOKS
                        On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY, EXELON
                      CORPORATION, EXELON GENERATION COMPANY, LLC

  04/23/2018          Removed to Fed Court


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9/10/2020   Case: 4:20-cv-01227-JAR Doc. #: 1-4   Filed:
                                             Case.net:     09/10/20
                                                       18SL-CC00617      Page:
                                                                    - Docket       280 of 280 PageID #: 327
                                                                             Entries
  04/24/2018          Entry of Appearance Filed
                      Defendant DJR Holdings, INC Entry of Appearance; Electronic Filing Certificate of Service.
                        Filed By: S. MARTIN JANSKY
                        On Behalf Of: DJR HOLDINGS, INC. F/K/A FUTURA COATINGS, INC.

  04/03/2019          Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: NATHANIEL RICHARD CARROLL
                      Notice
                      Notice of Remand; Exhibit 1 - Memorandum and Order for Remand dated March 29, 2019; Electronic
                      Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL
                          On Behalf Of: TAMIA BANKS

  04/11/2019          Order
                      *****FROM THE UNITED STATES DISTRICT COURT EASTERN DISTRICT OF MISSOURI***** IT IS
                      HEREBY ORDERED THAT PLAINTIFFS MOTION FOR REMAND IS GRANTED AND THIS MATTER
                      IS REMANDED TO THE CIRCUIT COURT OF ST LOUIS COUNTY. IT IS FURTHER ORDERED THAT
                      DEFENDANTS' MOTION TO DISMISS ARE DENIED WITHOUT PREJUDICE TO REFILING IN STATE
                      COURT. SO ORDERED: JOHN A. ROSS, UNITED STATES DISTRICT JUDGE

  03/30/2020          Entry of Appearance Filed
                      Cotter Corporation Entry of Appearance; Electronic Filing Certificate of Service.
                        Filed By: BRIAN OCONNOR WATSON
                        On Behalf Of: COTTER CORPORATION
 Case.net Version 5.14.0.18                                Return to Top of Page                            Released 09/01/2020




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